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(h) Each Asbestos Insurance Entity that is a party to an Asbestos Insurance
Reimbursement Agreement shall be bound by any Final Order that the provisions of Section
7.2.2(d)(iv) of the Plan are applicable to such Asbestos Insurance Reimbursement Agreement.

(i) Notwithstanding anything to the contrary in the Plan or the Plan Documents: (i)
any Entity (including the Asbestos PI Trust, any Reorganized Debtor and any non-Debtor
Affiliate) that tenders a claim for defense, indemnity or coverage under an Asbestos Insurance
Policy to an Asbestos Insurance Entity shall be responsible, for purposes of such claim, for any
retrospective insurance premium, self-insured retention, deductible or similar obligation of the
insured under the Asbestos Insurance Policies with respect to such claim; (ii) with respect to any
self-insured retention, deductible or similar obligation, any Asbestos Insurance Entity to which
such claim is tendered may assert, as a coverage defense, that such tendering Entity has not
fulfilled the obligations of the insured under the Asbestos Insurance Policies in respect of which
such claim was tendered; and (iii) with respect to any retrospective insurance premium or similar
obligation, any Asbestos Insurance Entity to which such claim is tendered may offset the amount
of such retrospective insurance premium or similar obligation against any amount otherwise
payable by such Asbestos Insurance Entity to the Asbestos PI Trust on account of that or any
other claim tendered by the Asbestos PI Trust to that Asbestos Insurance Entity.

(j) The duties and obligations of an Asbestos Insurance Entity under any Asbestos
Insurance Policy, Asbestos In-Place Insurance Coverage, Asbestos Insurance Reimbursement
Agreement or Asbestos Insurance Settlement Agreement are not diminished, reduced or
eliminated by (1) the discharge of the obligations and liabilities of the Debtors and Reorganized
Debtors for and in respect of all Asbestos PI Claims or (2) the assumption by the Asbestos PI
Trust of responsibility and liability for all Asbestos PI Claims. Except as provided in Sections
7.15(e) and 7.15(h), in any Asbestos Insurance Action, an Asbestos Insurance Entity may assert
against any Entity (including the Asbestos PI Trust, any Reorganized Debtor and any non-Debtor
Affiliate) seeking coverage any applicable defense that the insured or the Entity seeking
coverage under the Asbestos Insurance Policy, Asbestos In-Place Insurance Coverage, Asbestos
Insurance Reimbursement Agreement or Asbestos Insurance Settlement Agreement has failed to
comply with the terms and conditions of the Asbestos Insurance Policy, Asbestos In-Place
Insurance Coverage, Asbestos Insurance Reimbursement Agreement or Asbestos Insurance
Settlement Agreement, or any other obligation imposed on the insured by the Asbestos Insurance
Policy, Asbestos In-Place Insurance Coverage, Asbestos Insurance Reimbursement Agreement
or Asbestos Insurance Settlement Agreement or under applicable law, and any such failure to
comply by the insured may be asserted as a defense against any Entity (including the Asbestos PI
Trust) to the same extent that such failure to comply could have been asserted as a defense
against the insured had the insured brought the Asbestos Insurance Action against the Asbestos
Insurance Entity. Except as provided in Sections 7.15(e) and 7.15(h), the Asbestos PI Trust shall
be subject to the duties, terms and conditions of any Asbestos Insurance Policy, Asbestos In-
Place Insurance Coverage, Asbestos Insurance Reimbursement Agreement or Asbestos Insurance
Settlement Agreement that set forth, define or limit the Asbestos Insurance Rights that are
transferred to the Asbestos PI Trust under the Asbestos Insurance Transfer Agreement, to the
same extent that the Debtors would be subject to such duties, terms or conditions under
applicable law had the Debtors’ obligations and liabilities not been discharged in this Chapter 11
case.

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ARTICLE 8
INJUNCTIONS, RELEASES & DISCHARGE

8.1 DISCHARGE
8.1.1 Discharge of the Debtors and Related Discharge Injunction

The rights afforded in this Plan and the treatment of all Claims, Plan Claims, Demands
and Equity Interests herein shall be in exchange for and shall discharge all Claims, Plan Claims,
Demands and Equity Interests of any nature whatsoever, including any interest accrued thereon
from and after the Petition Date, against the Debtors and the Debtors in Possession, or their
assets, properties, or interests in property. Except as otherwise provided herein, on the Effective
Date, all Claims, Plan Claims, Demands against, and Equity Interests in the Debtors and the
Debtors in Possession shall be discharged. The Reorganized Debtors shall not be responsible for
any obligations of the Debtors or the Debtors in Possession except those expressly assumed by
the Reorganized Debtors pursuant to this Plan. All Entities shall be precluded and forever barred
from asserting against the Debtors and the Reorganized Debtors, or their assets, properties, or
interests in property any other or further Claims, Plan Claims, or Demands based upon any act or
omission, transaction, or other activity, event, or occurrence of any kind or nature that occurred
prior to the Effective Date, whether or not the facts of or legal bases therefor were known or
existed prior to the Effective Date, except as expressly provided in this Plan.

With respect to any debts discharged by operation of law under Bankruptcy Code §§
524(a) and 1141, the discharge of the Debtors operates as an injunction against the
commencement or continuation of an action, the employment of process, or an act, to collect,
recover, or offset_any such debt_as a personal liability of the Debtors, whether or not the
discharge of such debt is waived; provided, however, that the obligations of the Reorganized
Debtors under this Plan and the other Plan Documents to be entered into on the Effective Date
are not so discharged.

8.1.2 Discharge of Liabilities to Holders of Asbestos PI Claims

The transfer to, vesting in, and assumption by the Asbestos PI Trust of the Asbestos PI
Trust Assets as contemplated by this Plan, among other things, shall discharge the Debtors, the
Reorganized Debtors and their Representatives for and in respect of all Asbestos PI Claims,
subject to the reservations listed in Section 8.2.2 herein. On the Effective Date, the Asbestos PI
Trust shall assume the liabilities of the Debtors with respect to all Asbestos PI Claims and shall
pay Asbestos PI Claims entitled to payment in accordance with the Asbestos PI Trust Agreement
and the Asbestos PI TDP.

8.1.3 Discharge of Liabilities to Holders of Asbestos PD Claims
The transfer to, vesting in, and assumption by the Asbestos PD Trust of the Asbestos PD

Trust Assets as contemplated by this Plan, among other things, shall discharge the Debtors, the
Reorganized Debtors and their Representatives for and in respect of all Asbestos PD Claims,

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subject to the reservations listed in Section 8.3.2 herein. On the Effective Date, the Asbestos PD
Trust shall assume the liabilities of the Debtors with respect to all Asbestos PD Claims and shall
pay Asbestos PD Claims entitled to payment in accordance with the Asbestos PD Trust
Agreement and any Final Orders of the Bankruptcy Court allowing such claims.

8.1.4 Discharge of Liabilities to Holders of CDN ZAI PD Claims

The transfer to, vesting in, and assumption by the CDN ZAI PD Claims Fund of the CDN
ZAI PD Claims as contemplated by the CDN ZAI Minutes of Settlement and this Plan, among
other things, shall discharge the Debtors, the Reorganized Debtors and their Representatives for
and in respect of all CDN ZAI PD Claims, subject to the reservations listed in Section 8.3.2
herein. On the Effective Date, the CDN ZAI PD Claims Fund shall assume the liabilities of the
Debtors with respect to all CDN ZAI PD Claims and shall pay CDN ZAI PD Claims entitled to
payment in accordance with the terms of the CDN ZAI Minutes of Settlement.

8.1.5 Disallowed Claims and Disallowed Equity Interests

On and after the Effective Date, the Debtors, the Reorganized Debtors and their
Representatives shall be fully and finally discharged of any liability or obligation on a
Disallowed Claim or Disallowed Equity Interest, and any order creating a Disallowed Claim that
is not a Final Order as of the Effective Date solely because of an Entity’s right to move for
reconsideration of such order pursuant to Bankruptcy Code § 502 or Bankruptcy Rule 3008 shall
nevertheless become and be deemed to be a Final Order on the Effective Date.

8.1.6 Non-Dischargeable ERISA Liability

The Parent is a controlled group member within the meaning of 29 U.S.C. § 1301(a)(14)
and may also be a contributing sponsor of one or more ongoing, defined benefit pension plans to
which Title IV of the ERISA applies (the “Pension Plans”). The Debtors intend that the
Reorganized Parent will continue to be the continuing sponsor of the Pension Plans. Each of the
Pension Plans is a defined benefit pension plan insured by the Pension Benefit Guaranty
Corporation (“PBGC”) under ERISA. The Pension Plans are subject to minimum funding
requirements of ERISA and section 412 of the IRC. Should the Pension Plans be underfunded
and should the Pension Plans terminate, the PBGC may assert claims for the underfunding, for
any unpaid minimum funding contributions owed the Pension Plan, and for any unpaid
premiums owed the PBGC.

Nothing contained in this Plan, the Confirmation Order, the Bankruptcy Code (including
Bankruptcy Code § 1141), or any other document Filed in the Chapter 11 Cases shall be
construed to discharge, release or relieve the Debtors, or any other party, in any capacity, from
any liability or responsibility to the PBGC with respect to the Pension Plans under any law,
governmental policy, or regulatory provision. The PBGC shall not be enjoined or precluded
from enforcing such liability or responsibility, as a result of any of the provisions of this Plan
(including those provisions providing for exculpation, satisfaction, release, and discharge of
Claims), the Confirmation Order, the Bankruptcy Code (including Bankruptcy Code § 1141), or
any other document Filed in the Chapter 11 Cases. Notwithstanding the foregoing, neither the

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PBGC nor any other Entity shall assert any liability or responsibility with respect to the Pension
Plans under any law, governmental policy or regulatory provisions against, and such liability or
responsibility shall not attach to, the Asbestos PI Trust or any of the Asbestos PI Trust Assets or
the Asbestos PD Trust or any of the Asbestos PD Trust Assets.

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8.2 THE ASBESTOS PI CHANNELING INJUNCTION

In order to supplement, where necessary, the injunctive effect of the discharge provided
by Bankruptcy Code §§ 1141, 524(a), and 105 and as described in this Article 8, and pursuant
to the exercise of the equitable jurisdiction and power of the Court under Bankruptcy Code §
524(g), the Confirmation Order shall provide for issuance of the Asbestos PI Channeling
Injunction to take effect as of the Effective Date.

8.2.1 Asbestos PI Channeling Injunction

On and after the Effective Date, the sole recourse of the Holder of an Asbestos PI Claim
or a Successor Claim arising out of or based on any Asbestos PI Claim on account thereof shall
be to the Asbestos PI Trust pursuant to the provisions of the Asbestos PI Channeling Injunction
and the Asbestos PI TDP and such Holder shall have no right whatsoever at any time to assert its
Asbestos PI Claim or Successor Claim arising out of or based on any Asbestos PI Claim against
the Debtors, Reorganized Debtors, any other Asbestos Protected Party, or any property or
interest (including any Distributions made pursuant to this Plan) in property of the Debtors, the
Reorganized Debtors, or any other Asbestos Protected Party. Without limiting the foregoing, .
from and after the Effective Date, the Asbestos PI Channeling Injunction shall apply to all
present and future Holders of Asbestos PI Claims or Successor Claims arising out of or based on
any Asbestos PI Claim, and all such Holders permanently and forever shall be stayed, restrained,
and enjoined from taking any and all legal or other actions or making any Demand against any
Asbestos Protected Party or any property or interest (including Distributions made pursuant to
this Plan) in property of any Asbestos Protected Party for the purpose of, directly or indirectly,
claiming, collecting, recovering, or receiving any payment, recovery, satisfaction, or any other
relief whatsoever on, of, or with respect to any Asbestos PI Claims or Successor Claims arising
out of or based on any Asbestos PI Claims other than from the Asbestos PI Trust in accordance
with the Asbestos PI Channeling Injunction and pursuant to the Asbestos PI Trust Agreement
and the Asbestos PI TDP, including:

(a) commencing, conducting, or continuing in any manner, directly or
indirectly, any suit, action, or other proceeding (including a judicial,
arbitration, administrative, or other proceeding) in any forum against or
affecting any Asbestos Protected Party, or any property or interest_in
property of any Asbestos Protected Party:

(b) enforcing, levying, attaching (including any prejudgment_attachment),
collecting, or otherwise recovering by any means or in any manner,
whether directly or indirectly, any judgment, award, decree, or other order
against any Asbestos Protected Party, or any property or interest_in
property of any Asbestos Protected Party:

(c) creating, perfecting, or otherwise enforcing in any manner, directly or
indirectly, any Encumbrance against any Asbestos Protected Party, or any
property or interest in property of any Asbestos Protected Party:

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(d)

(e)

setting off, seeking reimbursement_of. indemnification or contribution
from, or subrogation against, or otherwise recouping in any manner,
directly or indirectly, any amount against any liability owed to any
Asbestos Protected Party, or any property or interest in property of any
Asbestos Protected Party; and

proceeding in any other manner with regard to any matter that is subject to
resolution pursuant to the Asbestos PI Trust, except in conformity and
compliance with the Asbestos PI Trust Agreement and the Asbestos PI
TDP.

8.2.2 Reservations from Asbestos PI Channeling Injunction

Notwithstanding anything to the contrary in Section 8.2.1 above, the Asbestos PI

Channeling Injunction issued pursuant to Section 8.2.1 shall not enjoin:

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(a)

(b)

(c)

(d)

(e)

the_rights of Entities to the treatment accorded them under this Plan,
including the rights of Entities with Asbestos PI Claims to assert such
Asbestos PI Claims in accordance with the Asbestos PI TDP:

the rights of Entities to assert any claim, debt, obligation or liability for
payment of expenses of the Asbestos PI Trust solely against the Asbestos
PI Trust or the Asbestos PI Trust Assets:

the rights of the Asbestos PI Trust_and, to the extent permitted by the
Asbestos Insurance Transfer Agreement, the Insurance Contributors, to
prosecute any cause of action or to assert _any Claim, Demand, debt,
obligation, or liability for payment against any Entity (but not the Sealed
Air Indemnified Parties or the Fresenius Indemnified Parties), including
any Asbestos Insurance Entity, based on or arising from the Asbestos
Insurance Rights; and

the rights of the Asbestos PI Trust_and, to the extent permitted by the
Asbestos Insurance Transfer Agreement, the Insurance Contributors, to
receive any settlement, award, payment of cash or other property of any
kind whatsoever from any Entity (but not the Sealed Air Indemnified
Parties or the Fresenius Indemnified Parties) including any Asbestos
Insurance Entity in satisfaction of any Asbestos Insurance Rights.

BNSF from asserting any claim (as that term is defined in Bankruptcy
Code § 101(5)) for insurance coverage as an insured or an additional
insured against a Settled_Asbestos Insurance Company under and only
under an insurance policy (or part of a policy) that is not identified as
being the subject. of any Asbestos Insurance Settlement Agreement in
Exhibit 5 of the Exhibit Book or is not subject to protection under the
terms of the Debtors’ Settlement Agreement with the Royal Parties, dated

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June_17, 2009 (the “Arrowood Rule 9019 Settlement Agreement”). To
avoid any doubt, BNSF shall be enjoined from asserting any claim against
any of the policies identified in Exhibits 2 and 3 of the Arrowood Rule
9019 Settlement Agreement.

Except _as_ otherwise expressly provided_in this Plan, the Sealed Air Settlement
Agreement, or the Fresenius Settlement Agreement, nothing contained in this Plan shall
constitute or be deemed a waiver of any claim, right, or cause of action that the Debtors, the
Reorganized Debtors, or the Asbestos PI Trust may have against any Entity in connection with or
arising out of or based on any Asbestos PI Claim. Notwithstanding anything to the contrary in
this Section 8.2.2, in any other provision of this Plan, or in any Plan Document (including the
Asbestos PI Trust Agreement and the Asbestos PI TDP), and for the avoidance of any doubt,
following the transfer to the Asbestos PI Trust_of the Cryovac Payment (reduced by the total
ageregate amount of transfers to the Asbestos PD Trust by or on behalf of Cryovac, Inc. as part
of the Class 7A Initial Payment and the Class 7B Initial Payment), (i) no Entity shall have any
right to enforce any provision of this Plan relating to the Cryovac Payment or the payment
thereof against any of the Sealed Air Indemnified Parties or any property or interest (including
any Distributions made pursuant to this Plan) in property of any of the Sealed Air Indemnified
Parties and (ii) the sole recourse of a Holder of an Asbestos PI Claim against any of the Sealed
Air Indemnified Parties or a Successor Claim arising out of or based on any Asbestos PI Claim
on account thereof, shall be to the Asbestos PI Trust, and such Holder shall have no right
whatsoever at any time to assert its Asbestos PI Claim or Successor Claim arising out of or based
on any Asbestos PI Claim against any of the Sealed Air Indemnified Parties or any property or
interest (including any Distributions made pursuant to this Plan) in property of any of the Sealed
Air Indemnified Parties. Notwithstanding anything to the contrary in this Section 8.2.2, in any
other provision of this Plan, or in any Plan Document (including the Asbestos PI Trust and the
Asbestos PI TDP), and for the avoidance of any doubt, following the transfer to the Asbestos PI
Trust_of the Fresenius Payment (reduced by the total aggregate amount of transfers to the
Asbestos PD Trust by or on behalf of Fresenius as part of the Class 7A Initial Payment and the
Class 7B Initial Payment), (i) no Entity shall have any right to enforce any provision of this Plan
relating to the Fresenius Payment or the payment thereof against any of the Fresenius
Indemnified Parties or any property or interest (including any Distributions made pursuant to this
Plan) in property of any of the Fresenius Indemnified Parties and (ii) the sole recourse of a
Holder of an Asbestos PI Claim against any of the Fresenius Indemnified Parties or a Successor
Claim arising out of or based on any Asbestos PI Claim on account thereof, shall be to the
Asbestos PI Trust, and such Holder shall have no right whatsoever at any time to assert_its
Asbestos PI Claim or Successor Claim arising out of or based on any Asbestos PI Claim against
any of the Fresenius Indemnified Parties or any property or interest (including any Distributions
made pursuant to this Plan) in property of any of the Fresenius Indemnified Parties.

8.3. THE ASBESTOS PD CHANNELING INJUNCTION

In order to supplement, where necessary, the injunctive effect of the discharge provided
by Bankruptcy Code §§ 1141, 524(a), and 105 and as described in this Article 8, and pursuant
to the exercise of the equitable jurisdiction and power of the Court under Bankruptcy Code §
524(g), the Confirmation Order shall provide for issuance of the Asbestos PD Channeling
Injunction to take effect as of the Effective Date.

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8.3.1 Asbestos PD Channeling Injunction

On and after the Effective Date, (1) the sole recourse of the Holder of an Asbestos PD
Claim or a Successor Claim arising out of or based on any Asbestos PD Claim on account
thereof shall be to the Asbestos PD Trust; and (2) the sole recourse of a Holder of a CDN ZAI
PD Claim or a Successor Claim arising out of or based on any CDN ZAI PD Claim, shall be as
set forth in the CDN ZAI Minutes of Settlement, pursuant to the provisions of the Asbestos PD
Channeling Injunction and any Final Orders of the Bankruptcy Court allowing such claims, and
such Holders shall have no right whatsoever at any time to assert their Asbestos PD Claim,
Successor Claim arising out of or based on any Asbestos PD Claim, CDN ZAI PD Claim. or
Successor Claim arising out of or based on any CDN ZAI PD Claim against the Debtors,
Reorganized Debtors, any other Asbestos Protected Party, or any property or interest (including
any Distributions made pursuant to this Plan) in property of the Debtors. the Reorganized
Debtors, or any other Asbestos Protected Party. Without limiting the foregoing, from and after
the Effective Date, the Asbestos PD Channeling Injunction shall apply to all present and future
Holders of Asbestos PD Claims, Successor Claims arising out of or based on any Asbestos PD
Claim, CDN ZAI PD Claims, and Successor Claims arising out of or based on any CDN ZAI PD
Claims, and all such Holders permanently and forever shall be stayed, restrained, and enjoined
from taking any and all legal or other actions or making any Demand for the purpose of, directly
or indirectly, claiming, collecting, recovering, or receiving any payment. recovery, satisfaction,
or any other relief whatsoever on, of, or with respect to any Asbestos PD Claims, Successor
Claims arising out of or based on any Asbestos PD Claims, CDN ZAI PD Claims, or Successor
Claims arising out of or based on any CDN ZAI PD Claim other than from the Asbestos PD
Trust in accordance with the Asbestos PD Channeling Injunction and pursuant to the Asbestos
PD Trust Agreement in the case of Asbestos PD Claims or in accordance with the Asbestos PD
Channeling Injunction and pursuant to the CDN ZAI Minutes of Settlement in the case of CDN
ZAI PD Claims, including:

(a) commencing, conducting, or continuing in any manner, directly or
indirectly, any suit, action, or other proceeding (including a judicial,
arbitration, administrative, or other proceeding) in any forum against or
affecting any Asbestos Protected Party, or any property or interest in
property of any Asbestos Protected Party:

(b) enforcing, levying, attaching (including any prejudgment attachment),
collecting, or otherwise recovering by any means or in any manner,
whether directly or indirectly, any judgment, award, decree, or other order
against_any Asbestos Protected Party, or any property or interest in
property of any Asbestos Protected Party:

(c) creating, perfecting, or otherwise enforcing in any manner, directly or
indirectly, any Encumbrance against any Asbestos Protected Party, or any
property or interest in property of any Asbestos Protected Party:

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(d) setting off, seeking reimbursement of, indemnification or contribution
from, or subrogation against, or otherwise recouping in any manner,
directly or indirectly, any amount against any liability owed to any
Asbestos Protected Party, or any property or interest in property of any
Asbestos Protected Party: and

(e) proceeding in any other manner with regard to any matter that is subject to
resolution pursuant to the Asbestos PD Trust, except in conformity and
compliance with the Asbestos PD Trust Agreement in the case of Asbestos
PD Claims, or proceeding in any other manner with regard to any matter
that_is subject to resolution pursuant to the CDN ZAI Minutes of
Settlement, in the case of CDN ZAI PD Claims.

8.3.2 Reservations from Asbestos PD Channeling Injunction

Notwithstanding anything to the contrary in Section 8.3.] above, the Asbestos PD
Channeling Injunction issued pursuant to Section 8.3.1 shall not enjoin:

(a) the rights of Entities to the treatment accorded them under this Plan,
including the rights of Entities with Asbestos PD Claims to assert such
Asbestos PD Claims in accordance with the PD Settlement Agreements,
the Class 7A Case Management Order or the ZAI TDP, and the rights of
Entities with CDN ZAI PD Claims to assert such CDN ZAI PD Claims in
accordance with the provisions set forth in the CDN ZAI Minutes of
Settlement. For the avoidance of doubt, such rights shall include the rights
of an Entity holding an Allowed Asbestos PD Claim under a PD
Settlement Agreement to enforce the provisions of this Plan which
contemplate that on the Effective Date, the Asbestos PD Initial Payment
will be made to the Asbestos PD Trust in an amount sufficient to permit
the Asbestos PD Trust to make all payments, in full, on account of and as
required by PD Settlement Agreements as contemplated by this Plan; and

(b) the rights of Entities to assert any claim, debt, obligation or liability for
payment of expenses of the Asbestos PD Trust solely against the Asbestos
PD Trust or the Asbestos PD Trust Assets.

Except _as otherwise expressly provided in this Plan, the Sealed Air Settlement
Agreement, or the Fresenius Settlement Agreement, nothing contained in this Plan shall
constitute or be deemed _a waiver of any claim, right, or cause of action that the Debtors, the
Reorganized Debtors, or the Asbestos PD Trust may have against any Entity in connection with
or arising out of or based on any Asbestos PD Claim or CDN ZAI PD Claim. Notwithstanding
anything to the contrary in this Section 8.3.2, in any other provision of this Plan, or in any Plan
Document (including the Asbestos PD Trust Agreement, the CDN ZAI Minutes of Settlement,
the ZAI TDP, and the Class 7A Case Management Order), and for the avoidance of any doubt,
following the transfer to the Asbestos PD Trust_of Cryovac, Inc.’s share of the Asbestos PD
Initial Payment by or on behalf of Cryovac, Inc., (i) no Entity shall have any right to enforce any

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provision of this Plan relating to the Asbestos PD Initial Payment or the payment thereof against
any of the Sealed Air Indemnified Parties or any property or interest ( including any Distributions
made pursuant to this Plan) in property of any of the Sealed Air Indemnified Parties and (ii) the
sole recourse of a Holder of an Asbestos PD Claim or CDN ZAI PD Claim against any of the
Sealed Air Indemnified Parties or a Successor Claim arising out of or based on any Asbestos PD
Claim or CDN ZAI PD Claim on account thereof, shall be to the Asbestos PD Trust or as set
forth in the CDN ZAI Minutes of Settlement (as applicable), and such Holder shall have no right
whatsoever _at_any time to assert its Asbestos PD Claim, CDN ZAI PD Claim. or Successor
Claim arising out of or based on any Asbestos PD Claim or CDN ZAI PD Claim against any of
the Sealed Air Indemnified Parties or any property or interest (including any Distributions made
pursuant to this Plan) in property of any of the Sealed Air Indemnified Parties. Notwithstanding
anything to the contrary in this Section 8.3.2, in any other provision of this Plan, or in any Plan
Document (including the Asbestos PD Trust Agreement, the CDN ZAI Minutes of Settlement,
the ZAI TDP, and the Class 7A Case Management Order), and for the avoidance of any doubt,
following the transfer to the Asbestos PD Trust_of Fresenius’ share of the Asbestos PD Initial
Payment by or on behalf of Fresenius, (i) no Entity shall have any right to enforce any provision
of this Plan relating to the Asbestos PD Initial Payment or the payment thereof against any of the
Fresenius Indemnified Parties or any property or interest (including any Distributions made
pursuant to this Plan) in property of any of the Fresenius Indemnified Parties and (ii) the sole
recourse of a Holder of an Asbestos PD Claim or CDN ZAI PD Claim against any of the
Fresenius Indemnified Parties or a Successor Claim arising out of or based on any Asbestos PD
Claim or CDN ZAI PD Claim on account thereof, shall be to the Asbestos PD Trust or as set
forth in the CDN ZAI Minutes of Settlement (as applicable), and such Holder shall have no right
whatsoever _at_any time to assert its Asbestos PD Claim, CDN ZAI PD Claim, or Successor
Claim arising out of or based on any Asbestos PD Claim or CDN ZAI PD Claim against any of
the Fresenius Indemnified Parties or any property or interest (including any Distributions made
pursuant to this Plan) in property of any of the Fresenius Indemnified Parties.

8.4 ASBESTOS INSURANCE ENTITY INJUNCTION

Pursuant to the exercise of the equitable jurisdiction and power of the Court under
Bankruptcy Code § 105(a), the Confirmation Order shall provide for issuance of the Asbestos
Insurance Entity Injunction to take effect as of the Effective Date.

8.4.1 Asbestos Insurance Entity Injunction
8.4.1.1 Injunction for the Benefit of the Asbestos PI Trust
(a) All Entities that have held or asserted, that hold or assert, or that may in
the future hold or assert, any claim or cause of action against any Asbestos Insurance Entity,

based_upon, or arising out of, any Asbestos PI Claim against the Debtors or any Asbestos
Insurance Rights, whenever and wherever arisen or asserted ( including all claims in the nature of

or sounding in tort, or under contract, warranty, or any other theory of law, equity, or admiralty)

shall be stayed, restrained, and enjoined from taking any action for the purpose of directly or
indirectly claiming, collecting, recovering, or receiving any payment, recovery, satisfaction, or
any other relief whatsoever on, of, or with respect to any such claim or cause of action,

including:

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(i) commencing, conducting, or continuing, in any manner,
directly or indirectly, any suit, action, or other proceeding (including a
judicial, arbitration, administrative, or other proceeding in any forum)
against or affecting any Asbestos Insurance Entity, or any property or
interest in property of any Asbestos Insurance Entity:

(11) enforcing, levying, attaching (including any prejudgment
attachment), collecting, or otherwise recovering by any means or in any
manner, whether directly or indirectly, any judgment, award, decree, or
other _order_against_any Asbestos Insurance Entity, or any property or
interest in property of any Asbestos Insurance Entity:

(411) creating, perfecting, or otherwise enforcing in any manner,
directly or indirectly, any Encumbrance against any Asbestos Insurance
Entity, or_ any property or interest in property of any Asbestos Insurance

Entity;

(iv) setting off, seeking reimbursement of, indemnification or
contribution from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability owed to
any Asbestos Insurance Entity, or any property or interest in property of
any Asbestos Insurance Entity; and

(v) proceeding in any other manner with regard to any matter
that is subject to resolution by the Asbestos PI Trust, except in conformity
and compliance with the Asbestos PI Trust Agreement and the Asbestos
PI TDP.

(b) The Asbestos PI Trust shall have the sole and exclusive authority at any
time to terminate, reduce or limit the scope of, the Asbestos Insurance Entity Injunction issued
pursuant to Section 8.4.1.1 as it may apply to any Asbestos Insurance Entity upon express
written notice to that Asbestos Insurance Entity; and

(c) The Asbestos Insurance Entity Injunction is not issued for the benefit of
any Asbestos Insurance Entity, and no Asbestos Insurance Entity is or may become a third-party
beneficiary of the Asbestos Insurance Entity Injunction.

8.4.1.2 Reservations from the Injunction for the Benefit of the Asbestos PI
Trust

Notwithstanding anything to the contrary in Section 8.4.1.1 above, the Asbestos
Insurance Entity Injunction issued pursuant to Section 8.4.1.1 shall not enjoin:

(a) the rights of any Entity to the treatment accorded it under this Plan;

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(b) the rights of the Asbestos PI Trust or, to the extent provided in the

(c)

8.4.1.3

Asbestos Insurance Transfer Agreement, any of the Insurance
Contributors, to prosecute_any cause of action or to assert any claim,
demand, debt, obligation, or liability for payment against any Entity (but
not the Sealed Air Indemnified Parties or the Fresenius Indemnified
Parties), including any Asbestos Insurance Entity or any property or
interest in property of any Asbestos Insurance Entity, based on or arising
from the Asbestos Insurance Rights for the Asbestos PI Trust’s benefit;
and

the rights of the Asbestos PI Trust or, to the extent provided in the
Asbestos ~ Insurance Transfer Agreement, any of the Insurance
Contributors, to receive any settlement, award, payment of Cash or other
property of any kind whatsoever from any Entity (but not the Sealed Air
Indemnified Parties or the Fresenius Indemnified Parties), including any
Asbestos Insurance Entity or any property or interest in property of any
Asbestos Insurance Entity, in satisfaction of any Asbestos Insurance
Rights that the Asbestos PI Trust_or any of the Insurance Contributors
may have against any of the foregoing.

Reservations from the Injunction for the Benefit of BNSF

Notwithstanding anything to the contrary in Section 8.4.1.1 above, the Asbestos

Insurance EntityInjunction issued pursuant to Section 8.4.1.1 shall not enjoin:

(a) BNSF from asserting any claim (as that term is defined in Bankruptcy

Code § 101(5)) for insurance coverage as an insured or an additional
insured against any Asbestos Insurance Entity that is not identified on
Exhibit 5 of the Exhibit Book: and

(b) BNSF from asserting any claim (as that term is defined in Bankruptcy

8.4.1.4

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Code § 101(5)) for insurance coverage as an insured or an additional
insured against a Settled Asbestos Insurance Company under and only
under an insurance policy (or part of a policy) that is not identified as
being the subject of an Asbestos Insurance Settlement Agreement in
Exhibit 5 of the Exhibit Book:

provided, however, that in all events, BNSF shall be enjoined from
asserting any claim against any Entity or policy entitled to protection
under the terms of the Arrowood Rule 9019 Settlement Agreement (as
defined in Section 8.2.2(e) above), including any of the policies identified
in Exhibits 2 and 3 to the Arrowood Rule 9019 Settlement.

Reservations from the Injunction Regarding Insurer Contribution
Claims

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Notwithstanding anything to the contrary in Section 8.4.1.1 above, the Asbestos
Insurance Entity Injunction issued pursuant to Section 8.4.1.1 shall not enjoin an insurer from
asserting any claim for contribution against any other insurer that is not a Settled Asbestos
Insurance Company.

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8.5. SUCCESSOR CLAIMS INJUNCTION

Pursuant to the exercise of the equitable jurisdiction and power of the Court under
Bankruptcy Code § 105(a), the Confirmation Order shall provide for issuance of the Successor
Claim Injunction to take effect as of the Effective Date.

8.5.1 Injunction

All Entities that have held or asserted, that hold or assert, or that may in the future hold or
assert, any Successor Claim (other than Successor Claims arising out of or based on any
Asbestos PI Claim, Asbestos PD Claim, or CDN ZAI PD Claim) against any Asbestos Protected
Party shall be stayed, restrained, and enjoined from taking any and all legal or other actions or
making any demand for the purpose of directly or indirectly claiming, collecting, recovering, or
receiving any payment, recovery, satisfaction, or any other relief whatsoever on, of, or with
respect to any such Successor Claim, including:

(a) commencing, conducting, or continuing in any manner, directly or
indirectly, any suit, action, or other proceeding (including a_ judicial,
arbitration, administrative, or other proceeding) in any forum against or
affecting any Asbestos Protected Party, or any property or interest in
property of any Asbestos Protected Party;

(b) enforcing, levying, attaching (including any prejudgment attachment),
collecting, or otherwise recovering by any means or in any manner,
whether directly or indirectly, any judgment, award, decree, or other order
against any Asbestos Protected Party, or any property or interest ‘in
property of any Asbestos Protected Party;

(c) creating, perfecting, or otherwise enforcing in any manner, directly or
indirectly, any Encumbrance against any Asbestos Protected Party, or any
property or interest in property of any Asbestos Protected Party:

(d) setting off, seeking reimbursement of, indemnification or contribution
from, or subrogation against, or otherwise recouping in any manner,
directly or indirectly, any amount against any liability owed to any
Asbestos Protected Party, or any property or interest in property of any
Asbestos Protected Party: and

(e¢) proceeding in any other manner with regard to any Successor Claim based
on or arising from, in whole or in part, directly or indirectly, the Cryovac
Transaction or Fresenius Transaction (other than Successor Claims arising
out of or based on any Asbestos PI Claim, Asbestos PD Claim, or CDN
ZAI PD Claim).

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8.5.2 Reservations from the Injunction for the Benefit of Holders of Grace-
Related Claims

8.5.3

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(a)

(b)

(c)

(d)

(e)

As used in this Section 8.5.2: (i) “GR Claim” means a Grace-Related
Claim against Fresenius that is not (x) an Asbestos PI Claim or an
Asbestos PD Claim; (y) a claim against such Fresenius Indemnified Party
that arises out of the Fresenius Transaction, or (z) a claim for fraudulent
conveyance, successor liability, piercing of the corporate veil, a claim
arising under chapter 5 of the Bankruptcy Code, or any other similar claim
or cause of action; (ii) “GR Proof of Claim” means a proof of claim set
forth in a format substantially the same as Official Form 10 that asserts a
GR Claim; (iii) provided, however, that with respect to Seaton, a GR
Claim may only be asserted, and a GR Proof of Claim may only be filed
with respect to a GR Claim that is based on the 1996 Unigard Agreement;
and (iv) further provided that with respect to OneBeacon, a GR Claim may
only be asserted, and a GR Proof of Claim may only be filed, with respect
to a GR Claim that is based on the 1996 CU Agreement.

Any Holder of a GR Claim who has not, on or before the Effective Date,
filed a proof of claim against the Debtors with respect to the same claim(s)
as are contemplated by such GR Claim, may file a GR Proof of Claim
asserting such GR Claim against the Debtors on or before the sixtieth day
subsequent to the Effective Date (the “GR Claims Bar Date”);

The Reorganized Debtors, from and after the Effective Date, shall assume
all liability of Fresenius, and be entitled to assert and have the benefit of
all defenses of Fresenius, with respect to all GR Claims timely filed by the
GR Claims Bar Date; and

For the avoidance of doubt, the Successor Claims Injunction shall not
apply to Asbestos PI Claims and Asbestos PD Claims, which respectively
shall be subject to the Asbestos PI Channeling Injunction and the Asbestos
PD Channeling Injunction.

Nothing in this Section 8.5.2 shall be construed to limit the scope or effect
of the injunction afforded to the Fresenius Indemnified Parties or any of
the other Asbestos Protected Parties pursuant to Section 8.5.1 above or
any of the other injunctions, releases, indemnifications, or protections
afforded to the Fresenius Indemnified Parties or any of the other Asbestos
Protected Parties under this Plan.

Reservations from the Injunction for the Benefit of OneBeacon and CNA

(a)

Notwithstanding anything to the contrary contained in Section 8.5.1
above, and without limiting any defense, counterclaim, or other right of

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any of the Sealed Air Indemnified Parties or the application of any other
provision of the Plan (including each of the injunctions and releases in the
Plan), the Successor Claims Injunction shall not apply to any direct
contractual indemnification obligation that any Sealed Air Indemnified
Party may have to OneBeacon based upon or arising under the 1996 CU
Agreement with respect to “Hatco-Related Environmental Claims” (as
defined in the 1996 CU Agreement) asserted against the policies covered
by that agreement.

(b) Notwithstanding anything to the contrary contained in Section 8.5.1
above, and without limiting any other defense, counterclaim, or other right
of any of the Sealed Air Indemnified Parties or the application of any
other provision of the Plan (including each of the other injunctions and
releases in the Plan), the Successor Claims Injunction shall not apply to
any contractual indemnification and hold harmless obligations for which
the Sealed Air Indemnified Parties are directly obligated to CNA and that
arise directly under (or are directly based on) the CNA/Old Grace
Delaware 5/30/97 Settlement Agreement except to the extent that any such
obligation is, gives rise to, is based on, arises out of, or otherwise relates to
any Asbestos Claim. For the avoidance of doubt, CNA’s claims against
the Sealed Air Indemnified Parties under or based on any of the CNA/Old
Grace Delaware Settlement Agreements that are Asbestos PI Claims or
Asbestos PD Claims shall be subject to the Asbestos PI Channeling
Injunction or the Asbestos PD Injunction and shall be treated as Class 6
Claims or Class 7A Claims under the Joint Plan.

8.6 INJUNCTIONS AND RELEASES RELATED TO THE SEALED AIR
INDEMNIFIED PARTIES AND FRESENIUS INDEMNIFIED PARTIES

As required by the Sealed Air Settlement Agreement, the Sealed Air Settlement Order,
the Fresenius Settlement Agreement, and the Fresenius Settlement Order, the injunctions and
releases outlined in this Plan, including the Asbestos PI Channeling Injunction and Asbestos PD
Channeling Injunction provided under Bankruptcy Code § 524(g) and the Successor Claims
Injunction provided under Bankruptcy Code § 105(a), shall absolutely and unequivocally extend
to and protect the Sealed Air Indemnified Parties and the Fresenius Indemnified Parties.

8.7. TERM OF CERTAIN INJUNCTIONS AND AUTOMATIC STAY

8.7.1 Injunctions and/or Automatic Stays in Existence Immediately prior to
Confirmation

All of the injunctions and/or automatic stays provided for in or in connection with the
Chapter 11 Cases, whether pursuant to Bankruptcy Code §§ 105, 362, or any other provision of
the Bankruptcy Code or other applicable law, in existence immediately prior to the
Confirmation Date shall remain in full force and effect until the injunctions set forth in this Plan
become effective, and thereafter if so provided by this Plan, the Confirmation Order, or by their

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own terms. In addition, on and after the Confirmation Date, the Reorganized Debtors or the
Plan Proponents, acting together, may seek such further orders as they may deem necessary or
appropriate to preserve the status quo during the time between the Confirmation Date and the
Effective Date.

8.7.2 Injunctions Provided for in this Plan

Each of the injunctions provided for in this Plan shall become effective on the Effective
Date and shall continue in effect at all times thereafter unless otherwise provided by this Plan.
Notwithstanding anything to the contrary contained in this Plan, all actions in the nature of those
to be enjoined by such injunctions shall be enjoined during the period between the Confirmation
Date and the Effective Date.

8.8 ADDITIONAL RELEASES AND INDEMNIFICATION

8.8.1 Release of Sealed Air Indemnified Parties

On or prior to the Effective Date, (i) the SA Debtors, the Asbestos PD Committee, and the
Asbestos PI Committee shall execute and deliver the “Release” (as defined inthe Sealed Air
Settlement Agreement); (ii) the “Government Plaintiff’ (as defined in the Sealed Air Settlement
Agreement) shall execute and deliver the “Government Release” (as defined inthe Sealed Air
Settlement Agreement); and (iii) the Asbestos PI Committee and the Asbestos PD Committee
shall deliver the “Fresenius Release” (as defined in the Sealed Air Settlement Agreement), all as
provided for in the Sealed Air Settlement Agreement. In addition, in consideration for the
Cryovac Payment, each of the SA Non-Debtor Affiliates shall irrevocably release, acquit, and
forever discharge the Sealed Air Indemnified Parties from any and all present and future
Asbestos-Related Claims and Demands related thereto and any and all present and future SA
Claims, Canadian Claims, SA Debts, and SA Damages on the basis of, and arising from, or
attributable to (in whole or in part, directly or indirectly) the Fresenius Transaction that have
accrued or been asserted or that hereafter might accrue or be asserted against the Sealed Air
Indemnified Parties, and that each Non-Debtor Affiliate shall not institute, participate in,
maintain, maintain a right to or assert against the Sealed Air Indemnified Parties, either directly
or indirectly, on its own behalf, derivatively, or on behalf of any other Entity any and all present
and future Asbestos-Related Claims and Demands related thereto, and any and all claims
present and future SA Claims, Canadian Claims, SA Debts, and SA Damages on the basis of,
arising from, or attributable to (in whole or in part, directly or indirectly) the Fresenius
Transaction.

The SA Debtors and the Reorganized Debtors shall defend, indemnify, and hold harmless
each of the Sealed Air Indemnified Parties as provided in, and to the extent set forth, in the
Sealed Air Settlement Agreement.

The SA Debtors shall, jointly and severally, at their sole expense, indemnify, defend, and
hold harmless the Sealed Air Indemnified Parties from and against (1) any and all present and
future Asbestos-Related Claims and Demands related thereto and all SA Indemnified Taxes, (2)
any and all losses, costs, and expenses incurred as a result of any breach of any of the SA

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Debtors’ or SA Non-Debtor Affiliates’ obligations, covenants, and agreements set forth or
referred to in the Sealed Air Settlement Agreement, including any such obligation, covenant, or
agreement of any SA Debtor or SA Non-Debtor Affiliates set forth in the Plan or Confirmation
Order, (3) if any SA Non-Debtor Affiliate has not executed and delivered a “Release” (as defined
in the Sealed Air Settlement Agreement), any and all Asbestos-Related Claims and Demands
related thereto based on, arising out of, or attributable to, directly or indirectly, in whole or in
part, such SA Non-Debtor Affiliate and (4) any and all attorneys’ fees or costs and expenses
attributable to any “SA Indemnity Claim” (as defined in Section 7.7(hh) above); provided,
however, that in each case such indemnification shall not apply to “Excluded Fees” (as defined in
the Sealed Air Settlement Agreement) and provided, further, that nothing in the Sealed Air
Settlement Agreement or this Plan, shall adversely affect any rights of any Entity to file and
pursue, or object to, a proof of claim for Excluded Fees in the Chapter 11 Cases.

Each SA Debtor shall execute and deliver an indemnity agreement in favor of the
Released Parties in the form annexed as Exhibit 6 to the Sealed Air Settlement Agreement. The
SA Debtors’ Indemnity Obligation (and the obligations, covenants, and agreements of each of
the SA Debtors and SA Non-Debtor Affiliates set forth or referred to in the Sealed Air
Settlement Agreement, including any such obligation, covenant, or agreement of any SA Debtor
or SA Non-Debtor Affiliate set forth in the Plan or Confirmation Order) shall not be discharged,
expunged, estimated, or otherwise adversely affected in or by the Chapter 11 Cases or by the
confirmation of the Plan.

The SA Debtors’ Indemnity Obligation (and the obligation, covenants, and agreements of
each of the SA Debtors and SA Non-Debtor Affiliates set forth or referred to in the Sealed Air
Settlement Agreement, including any such obligation, covenant, or agreement of any SA Debtor
or SA Non-Debtor Affiliate set forth in the Plan or Confirmation Order) shall continue
unaffected as a post-confirmation obligation of each of the Reorganized Debtors. For the
avoidance of doubt, each of the SA Debtors’ and the Reorganized Debtors’ obligations to
indemnify, defend, and hold harmless the Sealed Air Indemnified Parties under the Sealed Air
Settlement Agreement and the documents governing the Cryovac Transaction shall survive
confirmation and the SA Debtors’ and the Reorganized Debtors’ discharge and remain fully
effective and enforceable after the Effective Date; and for the further avoidance of doubt the
foregoing obligations include the obligations of the SA Debtors and Reorganized Debtors, at
their sole expense, to jointly and severally defend, indemnify, and hold harmless the Sealed Air
Indemnified Parties from and against any and all indemnification obligations of any of the
Sealed Air Indemnified Parties to OneBeacon based upon or arising under the 1996 CU
Agreement with respect to environmental claims asserted against the policies covered by that
agreement. For the avoidance of doubt, each of the SA Debtors’ and the Reorganized Debtors’
obligations to indemnify, defend, and hold harmless the Sealed Air Indemnified Parties under
the Sealed Air Settlement Agreement and the documents governing the Cryovac Transaction
shall survive confirmation and the SA Debtors’ and the Reorganized Debtors’ discharge, and
shall remain fully effective and enforceable after the Effective Date; and, for the further
avoidance of doubt, the foregoing obligations include the obligations of the SA Debtors and
Reorganized Debtors, at their sole expense, to jointly and severally defend, indemnify, and hold
harmless the Sealed Air Indemnified Parties from and against any and all indemnification
obligations of any of the Sealed Air Indemnified Parties to CNA based upon or arising under

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any of the CNA/Old Grace Delaware Settlement Agreements with respect to environmental
claims asserted by Kaneb (as described on page 36 of the CNA Post-Trial Brief) or “Hatco
Environmental Claims” (as defined by the CNA/Old Grace Delaware 5/30/97 Settlement
Agreement).

8.8.2 Reservation of Rights With Respect to Cryovac Transaction Contractual
Obligations

Notwithstanding anything to the contrary in this Plan, any of the Plan Documents, or the
Confirmation Order, nothing in this Plan, any of the Plan Documents, or the Confirmation Order
(including any other provision that purports to be preemptory or supervening) shall in any way
operate to, or have the effect of, impairing or limiting the contractual rights, obligations, and
defenses of any of the Sealed Air Indemnified Parties or the Debtors and the Non-Debtor
Affiliates with respect to outstanding claims arising out of the interpretation or application of the
documents governing the Cryovac Transaction. All such contractual rights, obligations, and
defenses shall survive confirmation and the Debtors’ discharge and remain fully effective and
enforceable after the Effective Date.

8.8.3 Release of Fresenius Indemnified Parties

Upon receipt of the Fresenius Payment, the Debtors, the Reorganized Debtors, the
Asbestos PI Committee, and the Asbestos PD Committee will each fully, finally and forever
release, relinquish and discharge each and every Fresenius Indemnified Party from any and all
Grace-Related Claims, including, for the avoidance of doubt, claims and causes of action under
chapter 5 of the Bankruptcy Code or similar claims or causes of action under state or any other
law, that the Debtors, the Reorganized Debtors, the Asbestos PI] Committee or the Asbestos PD
Committee have asserted or could have asserted in the Bankruptcy Court or any other forum
against any of the Fresenius Indemnified Parties and the release that is attached as Appendix B to
the Fresenius Settlement Agreement shall become effective. Upon receipt of the Fresenius
Payment, in addition to the more limited duties of indemnification by the Debtors to the
Fresenius Indemnified Parties under Article III of the Fresenius Settlement Agreement, the
Debtors and the Reorganized Debtors shall indemnify, defend and hold harmless the Fresenius
Indemnified Parties _as provided in and to the extent set forth in the Fresenius Settlement
Agreement. Without limiting the foregoing, pursuant to Section 3.05 of the Fresenius Settlement
Agreement, the Debtors and the Reorganized Debtors shall indemnify, defend and hold harmless
the Fresenius Indemnified Parties from Fresenius Indemnified Taxes and, to the extent provided
in the Fresenius Settlement Agreement, any and all losses, costs, and expenses incurred as a
result of any breach of the Estate Parties’ obligations, covenants, and agreements set forth or
referred to in the Fresenius Settlement Agreement.

8.8.4 Assumption of 1998 Tax Sharing Agreement and Section 4.04 of the TSIA

(a) The Confirmation Order shall constitute an order authorizing the assumption by
each of the Debtors of the 1998 Tax Sharing Agreement. The 1998 Tax Sharing Agreement
shall be an assumed agreement of each of the Debtors (including Grace New York and Grace-
Conn) pursuant to 11 U.S.C. § 365 and nothing contained in, or contemplated by, this Plan, the

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Confirmation Order, or the Sealed Air Settlement Agreement shall adversely affect the rights of
the Debtors, Sealed Air Corporation or any of their Affiliates under the 1998 Tax Sharing
Agreement.

(b) The Confirmation Order shall constitute an order authorizing the assumption by
each of the Debtors of Section 4.04 of the TSIA. Section 4.04 of the TSIA shall be an assumed
agreement of each of the Debtors (including Grace New York and Grace-Conn) pursuant to 11
U.S.C. § 365 and nothing contained in, or contemplated by, this Plan, the Confirmation Order, or
the Fresenius Settlement Agreement shall adversely affect the rights of the Debtors, Fresenius or
any of their Affiliates under Section 4.04 of the TSIA.

8.8.5 Effect of the Eresenius Settlement Agreement, the Fresenius Settlement
Order, and the Sealed Air Settlement Agreement.

Notwithstanding anything to the contrary in this Plan, any of the Plan Documents, or the
Confirmation Order, nothing in this Plan, any of the Plan Documents, or the Confirmation Order
(including any other provision that purports to be preemptory or supervening) shall in any way
operate to, or have the effect of, impairing or limiting the legal, equitable, or contractual rights or
obligations of the Sealed Air Indemnified Parties, the Fresenius Indemnified Parties, or the
Debtors, the Reorganized Debtors, the other Estate Parties, and the Non-Debtor Affiliates,
respectively, pursuant to the Sealed Air Settlement Agreement, the Sealed Air Settlement Order,
the Fresenius Settlement Agreement or the Fresenius Settlement Order, as applicable, each of
which is expressly made a part of this Plan and incorporated in this Plan by reference.

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8.8.6 Release of Avoidance Actions.

Effective as of the Effective Date, the Debtors and the Reorganized Debtors fully, finally
and forever release, relinquish and discharge each and every claim, cause of action, or right of
the Debtors, the Reorganized Debtors or any of them, arising under the Bankruptcy Code,
including any avoidance or recovery actions under sections 544, 545, 547, 548, 549, 550, 551
and 553 of the Bankruptcy Code, or under any similar state statutes, which seek recovery of or
with respect to any payment by, or transfer of any interest in property of, any of the Debtors or
the Debtors in Possession on account of an Asbestos PI Claim, Asbestos PD Claim, or CDN ZAI
PD Claim, or any claim that would have constituted an Asbestos PI Claim, Asbestos PD Claim
or CDN ZAI PD Claim had such payment or transfer not_ been made. Notwithstanding the
foregoing, the release provided in this Section 8.8.6 shall supplement the other releases and
injunctions provided by the Debtors and Reorganized Debtors to the Sealed Air Indemnified
Parties and the Fresenius Indemnified Parties pursuant to this Plan and nothing in this Section
8.8.6 in any way limits or modifies, nor shall be construed to in any way limit or modify, the
scope of such releases.

8.8.7 Specific Releases by Holders of Claims or Equity Interests.

Without limiting any other provisions of this Plan, each Holder of a Claim or Equity
Interest_who votes in favor of this Plan shall be deemed to unconditionally have released the
Asbestos Protected Parties, the Unsecured Creditors’ Committee, the Asbestos PI Committee, the
Asbestos PD Committee, the Equity Committee, Asbestos PI FCR, and the Asbestos PD FCR,
and each such party’s Representatives to the extent such Representatives served during the
Chapter 11 Cases (except that the foregoing limitation shall not apply to Representatives of the
Sealed Air Indemnified Parties and the Fresenius Indemnified Parties), as of the Effective Date,
from any and all claims, SA Claims, SA Damages, obligations, rights, suits, judgments,
damages, causes of action, remedies, and liabilities of any nature whatsoever, whether known or
unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law,
equity, or otherwise, that such Holder would have been legally entitled to assert in its own right
(whether individually or collectively), based in whole or in part upon any act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date in
any way relating or pertaining to, the Debtors or the Reorganized Debtors, their operations on or
before the Effective Date, their respective property, the Chapter 11 Cases, or the negotiation,
formulation, and preparation of this Plan or any related agreements, instruments, or other
documents. In addition to the foregoing, each Holder of a Claim or Equity Interest who receives
or retains any property under this Plan shall also be deemed to unconditionally release the
Fresenius Indemnified Parties to the same extent_as the release in the preceding sentence. This
section is not intended to preclude a Governmental Unit from enforcing its police and regulatory

powers.

8.8.8 Release by Debtors and Estate Parties.

Effective as of the Confirmation Date, but subject to the occurrence of the Effective Date,
for good and valuable consideration, to the fullest extent permissible under applicable law, each

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Debtor, in its individual capacity and as a debtor-in-possession for and on behalf of its estate and
its Affiliates, and the Reorganized Debtors on their own behalf and as representatives of their
respective estates and their Affiliates, and their respective successors, assigns and any and all
Entities who may purport to claim by, through, for or because of them, are hereby deemed to
release and waive conclusively, absolutely, unconditionally, irrevocably, and forever each and all
of the Debtors’ and their Non-Debtor Affiliates’ Representatives, to the extent they served during
the Chapter 11 Cases, and their respective properties (the “Released Parties”), from any and all
claims, obligations, rights, suits, damages, remedies, liabilities, or causes of action in any manner
arising from, based on, or relating to, in whole or in part, the Debtors, the Debtors’ property, the
Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of any security of the
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or Interest
that is treated in this Plan, the restructuring of Claims and Interests prior to or in the Chapter 11
Cases, the negotiation, formulation, or preparation of the Plan and the Disclosure Statement, or
related agreements, instruments, or other documents, involving any act, omission, transaction,
agreement, occurrence, or event taking place on or before the Effective Date, other than any act
or omission of a Released Party that constitutes willful misconduct. Any act or omission taken
with the approval of the Bankruptcy Court will be conclusively deemed not to constitute willful
misconduct.

8.8.9 Indemnification of Representatives of the Debtors and Non-Debtor
Affiliates.

The Reorganized Debtors will defend, indemnify, and hold harmless to the fullest extent
permitted by applicable law, all Representatives of the Debtors, and all Representatives of the
Non-Debtor Affiliates, on and after the Effective Date for all claims, obligations, rights, suits,
damages, causes of action, remedies, and liabilities whatsoever that are purported to be released
pursuant to Sections 8.8.7 and 8.8.8 herein. Nothing herein is intended to, and shall not, alter in
any way the rights of the present and/or former officers and/or directors of the Debtors and the
Non-Debtor Affiliates, under the Debtors’ By-Laws and/or Certificate of Incorporation, and the
Non-Debtor Affiliates’ applicable bylaws and/or certificates of incorporation, whatever those
rights may be.

8.8.10 Indemnification of Reorganized Debtors and Their Representatives by the
Asbestos PI Trust.

From and after the Effective Date, the Asbestos PI Trust shall protect, defend, indemnify
and hold harmless, to the fullest extent permitted by applicable law each of the Reorganized
Debtors and their Representatives from and against: (a) any and all Asbestos PI Claims or
Successor Claims arising out of or based on any Asbestos PI Claim to the extent they are subject
to the Asbestos PI Channeling Injunction, together with any and all related Damages, (b) any and
all Damages relating to Asbestos PI Claims or Successor Claims purported to be covered by the
Asbestos PI Channeling Injunction, to the extent that such Asbestos PI Claims or Successor
Claims are brought in jurisdictions outside of the United States of America or are not otherwise,
for any reason, subject to the Asbestos PI Channeling Injunction, (c) any and all claims or
Damages arising out of, resulting from, or attributable to, directly or indirectly, the assignment,
transfer or other provision to the Asbestos PI Trust of the Asbestos Insurance Rights, and (d) any

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and all claims or Damages arising out of Asbestos PI Claims, to the extent such Claims or
Damages are based upon claims brought by, on behalf of or in the name of the Asbestos PI Trust
on account of or derived from the Asbestos PI Trust Assets; provided however, that
notwithstanding the foregoing, none of the Reorganized Debtors nor any of their Representatives
shall be entitled to be protected, defended, indemnified or held harmless from any criminal
proceeding or any claims or Damages arising out of, resulting from, or attributable to, directly or
indirectly, the criminal proceeding styled United States v. W. R. Grace & Co., et al, Case No.
CR-05-07-M-DWM (D. Mont.) or any similar or related proceeding or any settlement thereof. If
there shall be pending any claim against the Asbestos PI Trust for indemnification under this
Section 8.8.10, the Asbestos PI Trust shall maintain sufficient assets (as determined in good faith
by the Asbestos PI Trustees of the Asbestos PI Trust) to fund any payments in respect of that
claim for indemnification. For purposes of this Section only, “Damages” to any Entity covered
by the indemnity in this Section 8.8.10 shall mean any cost, damage (including any
consequential, exemplary, punitive, or treble damage) or expense (including reasonable fees and
actual disbursements by attorneys, consultants, experts, or other Representatives and costs of
litigation) imposed upon that Entity. The Reorganized Debtors shall provide prompt notice to
the Asbestos PI Trust upon becoming aware of the basis for any claim for indemnification under
this Section 8.8.10.

8.8.11 Indemnification of the Reorganized Debtors and Their Representatives by
the Asbestos PD Trust.

From and after the Effective Date, the Asbestos PD Trust shall protect, defend, indemnify
and hold harmless, to the fullest extent permitted by applicable law each of the Reorganized
Debtors and their Representatives from and against: (a) any and all Asbestos PD Claims or
Successor Claims arising out of or based on any Asbestos PD Claim to the extent they are
subject to the Asbestos PD Channeling Injunction, together with any and all related Damages, (b)
any and all Damages relating to Asbestos PD Claims or Successor Claims purported to be
covered by the Asbestos PD Channeling Injunction, to the extent that such Asbestos PD Claims
or Successor Claims are brought in jurisdictions outside of the United States of America (other
than Canada) or are not otherwise, for any reason, subject to the Asbestos PD Channeling
Injunction, and (c) any and all claims or Damages arising out of Asbestos PD Claims, to the
extent such Claims or Damages are based upon claims brought by, on behalf of or in the name of
the Asbestos PD Trust on account of or derived from the Asbestos PD Trust Assets; provided
however, that notwithstanding the foregoing, none of the Reorganized Debtors nor any of their
Representatives shall be entitled to be protected, defended, indemnified or held harmless from
any criminal proceeding or any claims or Damages arising out of, resulting from, or attributable
to, directly or indirectly, the criminal proceeding styled United States v. W. R. Grace & Co., et
al., Case No. CR-05-07-M-SWM (D. Mont.) or any similar or related proceeding or any
settlement thereof. If there shall be pending any claim against the Asbestos PD Trust for
indemnification under this Section 8.8.11, the Asbestos PD Trust shall maintain sufficient assets
(as determined in good faith by the Asbestos PD Trustees of the Asbestos PD Trust) to fund any
payments in respect of that claim for indemnification. For purposes of this Section only,
“Damages” to any Entity covered by the indemnity in this Section 8.8.11 shall mean any cost,
damage (including any consequential, exemplary, punitive, or treble damage) or expense
(including reasonable fees and actual disbursements by attorneys, consultants, experts, or other
Representatives and costs of litigation) imposed upon that Entity. The Reorganized Debtors

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shall provide prompt notice to the Asbestos PD Trust upon becoming aware of the basis for any
claim for indemnification under this Section 8.8.11.

ARTICLE 9
EXECUTORY CONTRACTS, UNEXPIRED
LEASES, LETTERS OF CREDIT, SURETY BONDS,
COMPENSATION, INDEMNITY AND BENEFIT PROGRAMS

9.1 ASSUMPTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

9.1.1 Assumption Generally.

Except for (i) executory contracts and unexpired leases that the Debtors reject prior to the
Effective Date or designate (on a list set forth in Exhibit 18 in the Exhibit Book) as being subject
to rejection in connection with the Effective Date; (ii) the TSIA which shall be terminated
(except for Section 4.04) upon the effective date of the Fresenius Settlement Agreement; and (iii)
agreements, to the extent executory, that create an obligation of the Debtors to reimburse or
indemnify third parties with respect to Asbestos PI Claims, Asbestos PD Claims or CDN ZAI PD
Claims (other than all Asbestos Insurance Policies, Asbestos Insurance Settlement Agreements,
Asbestos In-Place Insurance Coverage, and Asbestos Insurance Reimbursement Agreements, to
the extent they are executory, and the 1998 Tax Sharing Agreement), all executory contracts and
unexpired leases (including all Asbestos Insurance Policies, Asbestos Insurance Settlement
Agreements, Asbestos In-Place Insurance Coverage, and Asbestos Insurance Reimbursement
Agreements, to the extent they are executory; the 1998 Tax Sharing Agreement; and the cost
sharing agreement between the Debtors, Unifirst Corporation, and Beatrice Company, dated
November 16, 1990 and described at Section 2.8.2 of the Disclosure Statement) not previously
assumed by the Debtors pursuant to Bankruptcy Code § 365 shall be deemed to have been
assumed by the Reorganized Debtors on the Effective Date, and this Plan shall constitute a
motion to assume such executory contracts and unexpired leases as of the Effective Date.

9.1.2 Assumption Procedures.

Subject to the occurrence of the Effective Date, entry of the Confirmation Order shall
constitute express approval of the assumption of the executory contracts and unexpired leases
described in Section 9.1.1 pursuant to Bankruptcy Code § 365(a) and a finding by the
Bankruptcy Court that each such assumption is in the best interests of the Debtors, their estates,
and all parties in interest in the Chapter 11 Cases.

Not later than twenty (20) days after entry of the Confirmation Order, the Debtors will
File with the Bankruptcy Court an exhibit (the “Cure Exhibit”) setting forth those executory
contracts and unexpired leases which are being assumed by the Debtors and as to which the
Debtors believe that cure amounts are owing, together with the respective cure amounts due for
each such executory contract or assumed lease. The Debtors shall serve the Cure Exhibit on
each non-Debtor party to an executory contract or unexpired lease being assumed pursuant to the
Plan, including those listed on such exhibit. If there is a dispute regarding (i) the nature or
amount of any cure, (ii) the ability of a Reorganized Debtor or assignee to provide “adequate

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assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
under the contract or lease to be assumed or (iii) any other matter pertaining to assumption, cure
will occur following the entry of a Final Order resolving the dispute and approving the
assumption. With respect to any executory contracts or unexpired leases which are being
assumed by the Debtors but as to which the Debtors contend that no cure amounts are due, such
executory contracts and unexpired leases will not be included on the Cure Exhibit.

Not later than twenty (20) days after the Filing and service of the Cure Exhibit, the non-
Debtor party to any executory contract or unexpired lease that the Debtors propose to assume,
whether or not listed on the Cure Exhibit, may dispute the cure amount, if any, set forth by the
Debtors on the Cure Exhibit pursuant to Section 9.1.1 of the Plan, assert that a cure amount
should be owing with respect to any executory contract or unexpired lease that is being assumed,
or otherwise object to the assumption of the executory contract or unexpired lease indicated in
Section 9.1.1 of the Plan by Filing a written objection with the Bankruptcy Court and serving
such objection on counsel for the Debtors.

If no objection to the cure amount or the proposed assumption is properly Filed and
served within twenty (20) days after the Filing and service of the Cure Exhibit then (i) the
proposed assumption of the executory contract or unexpired leases shall be deemed approved
without further action of the Bankruptcy Court in accordance with the Plan and the Confirmation
Order, effective as of the Effective Date, and (ii) the cure amount, if any, identified by the
Debtors in the Cure Exhibit shall be fixed and shall be paid in full in Cash on the Effective Date
or on such other terms as are agreed to by the parties to such executory contract or unexpired
lease.

If an objection to the cure amount or the proposed assumption is properly Filed and
served within twenty (20) days after the Filing and service of the Cure Exhibit, then the Debtors
or Reorganized Debtors, as applicable, and the objecting party may resolve such objection by
stipulation, without further action of the Bankruptcy Court. If the parties are unable to resolve
such objection, then: (i) the Debtors or Reorganized Debtors may file a reply to such objection
no later than thirty (30) days after the Filing and service of such objection and ask the
Bankruptcy Court to schedule a hearing on the particular objection and the related reply at an
appropriate time; or (ii) the Debtors or Reorganized Debtors, as applicable, may designate the

executory contract or unexpired lease underlying such objection for rejection pursuant to Section
9.1.3 of the Plan.

Executory contracts and unexpired leases previously assumed by the Debtors during the
case pursuant to Bankruptcy Code § 365 shall be governed by and subject to the provisions of
the order of the Court authorizing the assumption thereof.

9.1.3 Rejection of Certain Executory Contracts and Unexpired Leases.

On the Effective Date, each executory contract and unexpired lease listed on Exhibit 18
in the Exhibit Book shall be rejected pursuant to section 365 of the Bankruptcy Code. Each
contract and lease listed on Exhibit 18 shall be rejected only to the extent that such contract or
lease constitutes an executory contract or unexpired lease. Listing a contract or lease on Exhibit

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18 shall not constitute an admission by the Debtors or Reorganized Debtors that such contract or
lease is an executory contract or unexpired lease or that the Debtors or Reorganized Debtors
have any liability thereunder. Subject to the occurrence of the Effective Date, entry of the
Confirmation Order shall constitute an order of the Bankruptcy Court approving such rejection
pursuant to section 365 of the Bankruptcy Code and a finding by the Bankruptcy Court that each
such rejection is in the best interests of the Debtors, their estates, and all parties in interest in the
Chapter 11 Cases.

The Debtors shall have the right until ten (10) days prior to the Effective Date to modify
the list of rejected contracts included in Exhibit 18 in the Exhibit Book to add executory
contracts or leases (but not the 1998 Tax Sharing Agreement or any Asbestos Insurance Policy,
Asbestos Insurance Settlement Agreement, Asbestos In-Place Insurance Coverage, or Asbestos
Insurance Reimbursement Agreements) or remove executory contracts or leases (but not
Section 4.04 of the TSIA addressed in Section 8.8.4(b) of this Plan), provided that the Debtors
shall file a notice with the Bankruptcy Court and serve each affected party with such notice.
Notwithstanding the foregoing, such affected parties shall not be entitled to any Administrative
Expense Claim for any executory contracts or leases added to the list of rejected contracts and
will only be entitled to a Claim for rejection damages.

To the extent executory, all agreements that create an obligation of the Debtors to
reimburse or indemnify third parties (other than the Sealed Air Indemnified Parties or the
Fresenius Indemnified Parties) with respect to Asbestos PI Claims, Asbestos PD Claims or CDN
ZAI PD Claims (other than Asbestos Insurance Policies, Asbestos Insurance Settlement
Agreements, Asbestos In-Place Insurance Coverage, Asbestos Insurance Reimbursement
Agreements, or the 1998 Tax Sharing Agreement to the extent any are executory) shall be
deemed rejected by operation of entry of the Confirmation Order, subject to the occurrence of the
Effective Date, unless expressly identified and assumed pursuant to the Plan, a Plan Document,
or an order of the Bankruptcy Court.

Pursuant to the terms of the March 2003 Bar Date Order and Bankruptcy Rule
3002(c)(4), and except as otherwise ordered by the Bankruptcy Court, a proof of claim for each
Claim arising from the rejection of an executory contract or unexpired lease pursuant to this Plan
shall be Filed with the Bankruptcy Court within thirty (30) days of the later of: (i) the date of
service of the Notice of Confirmation Date, or (ii) the Effective Date. Any Claims not Filed
within such applicable time period shall be forever barred from assertion. Except with respect to
Claims arising from the rejection of an executory contract or unexpired lease that creates an
obligation of the Debtors to reimburse or indemnify third parties with respect to Asbestos PI
Claims, Asbestos PD Claims or CDN ZAI PD Claims, all Claims for damages arising from the
rejection of an executory contract or unexpired lease shall be included in Class 9 and shall be
treated in accordance with Article 3 herein. All Claims for damages arising from the rejection of
an agreement that creates an obligation of the Debtors to reimburse or indemnify third parties
with respect to Asbestos PI Claims, Asbestos PD Claims or CDN ZAI PD Claims shall be
included in Class 6, Class 7 or Class 8, respectively, and shall be treated in accordance with
Article 3 herein.

9.2 LETTERS OF CREDIT AND SURETY BONDS

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Letters of credit related to the Debtors’ post-petition credit facilities will be refinanced
upon emergence from the Chapter 11 Cases. All other letters of credit and surety bonds on
account of non-asbestos claims will remain in place and become obligations of the Reorganized
Debtors. Claims arising under letters of credit and surety bonds issued or provided on account of
Asbestos PI Claims will be treated as Indirect PI Trust Claims and will be channeled to the
Asbestos PI Trust. Claims arising under letters of credit and surety bonds issued or provided on
account of Asbestos PD Claims will be treated as Indirect PD Trust Claims and will be
channeled to the Asbestos PD Trust. Notwithstanding any other provision in this Plan, the
Disclosure Statement or any other document prepared in connection with the Chapter 11 Cases,
nothing shall affect the right of the plaintiffs in Sheldon H. Solow v. W. R. Grace & Co., No.
2453/88 (NY Sup. Ct.) to execute on and recover in satisfaction of the judgment in that case in
accordance with state law against any entity that issued a surety bond to secure payment of that
judgment, or any successor to such entity.

Nothing in Article 9 shall (i) constitute a reinstatement, continuation, or assumption of
any warranty provision, guaranty, or any other contractual or other obligation, Demand, or Plan
Claim by the Reorganized Debtors to the extent that the Plan Claim, Demand, or obligation
constitutes an Asbestos PI Claim, or (ii) limit, restrict, or otherwise impair the releases afforded
to the Sealed Air Indemnified Parties and the Fresenius Indemnified Parties that are granted
elsewhere in this Plan or Plan Documents.

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9.3.1 Employee Benefits.

From and after the Effective Date, the Reorganized Debtors intend to continue their
existing employee compensation, indemnity agreements, and benefit plans, programs, and
policies, and to cure any defaults that may exist under such agreements, plans, programs, and
policies, including payment of the Debtors’ voluntary supplemental pension payments which
were limited during the pendency of these Chapter 11 Cases, subject to any rights to amend,
modify, or terminate such benefits under the terms of the applicable compensation and benefit
plan, other agreement, or applicable nonbankruptcy law.

It is also anticipated that after the Effective Date, the Reorganized Debtors may award
special cash bonuses of up to an aggregate of $6 million to a select group of key executives in
recognition of their contributions during the Chapter 11 Cases, including substantially
increasing the revenues and enterprise value of the Grace group and successfully leading the
Debtors’ reorganization efforts. The amount and allocation of such bonus awards will be
determined after the Effective Date by the Board of Directors of the Reorganized Parent.

In addition, on the Effective Date, the Reorganized Parent’s Board of Directors will
have the authority to grant stock incentive awards to the management of the Reorganized
Debtors and to other key employees, and to the Board of Directors of the Reorganized Debtors
pursuant to the Stock Incentive Plan.

9.3.2 Retiree Benefits.

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From and after the Effective Date, the Reorganized Debtors intend to continue to pay
retiree benefits (as defined in section 1114(a) of the Bankruptcy Code) and any similar health,
disability, or death benefits in accordance with the terms of the retiree benefit plans or other
agreements governing the payment of such benefits, subject to any rights to amend, modify, or
terminate such benefits under the terms of the applicable retiree benefits plan, other agreement,
or applicable nonbankruptcy law.

9.3.3. Workers’ Compensation Benefits.

From and after the Effective Date, the Reorganized Debtors, in their sole discretion, may
continue to pay valid Workers’ Compensation Claims, subject to any rights to amend, modify,
or terminate such benefits pursuant to applicable nonbankruptcy law.

ARTICLE 10
RETENTION OF JURISDICTION

Pursuant to Bankruptcy Code §§ 105(a), 524(a), 1141(d), and 1142, the Bankruptcy
Court shall retain and shall have exclusive jurisdiction over any matter (i) arising under the
Bankruptcy Code, (ii) arising in or related to the Chapter 11 Cases or this Plan, or (iii) that
relates to the following, provided that the District Court shall retain jurisdiction for such matters
to which the automatic reference to the Bankruptcy Court has been withdrawn or to the extent
required by law:

10.1 PLAN DOCUMENTS

To interpret, enforce, and administer the terms of the Plan Documents and all annexes
and exhibits thereto.

10.2. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

To hear and determine any and all motions or applications for the assumption and/or
assignment or rejection of (i) executory contracts, (ii) unexpired leases, (iii) letters of credit, (iv)
surety bonds, (v) guaranties (which for purposes of this Section include contingent liabilities
arising in connection with assigned executory contracts and unexpired leases), or (vi) written
indemnity agreements with respect to letters of credit, surety bonds or guaranties existing as of
the Effective Date to which the Debtors are parties or with respect to which the Debtors may be
liable that are: (A) pending on the Confirmation Date or (B) within the time period described in
Section 9.1 of this Plan, and to review and determine all Claims resulting from the expiration or
termination of any executory contract or unexpired lease prior to the Confirmation Date.

10.3. DISPUTED CLAIMS ALLOWANCE/DISALLOWANCE

To hear and determine any objections to: (i) the allowance of Plan Claims (other than
Asbestos PI Claims and any Successor Claims arising out of or based on any Asbestos PI
Claims), including any objections to the classification of any Claim; and (ii) the allowance or
disallowance of any Disputed Claim in whole or in part, including Asbestos PD Claims pursuant
to the Class 7A Case Management Order contemplated by Section 3.1.7 of this Plan.

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10.4 ENFORCEMENT/MODIFICATION OF THIS PLAN AND THE RELEASES,
INJUNCTIONS AND DISCHARGE PROVIDED UNDER THE PLAN

(a) To enforce the discharge, releases, and injunctions provided under the Plan,
including with respect to the assertion by any Entity after the Effective Date of claims or causes
of action that are discharged, released, or enjoined pursuant to the Plan and the Confirmation
Order;

(b) To make all determinations or rulings as to whether claims or causes of action
asserted after the Effective Date in any forum have been discharged, released, or enjoined
pursuant to the Plan and the Confirmation Order;

(c) To allow and disallow Asbestos PD Claims as contemplated by the Class 7A Case
Management Order;

(d) To issue such orders in aid of execution of this Plan to the extent authorized or
contemplated by Bankruptcy Code § 1142;

(e) To consider and approve any modifications of this Plan or Plan Documents,
remedy any defect or omission, or reconcile any inconsistency in any order of the Court,
including the Confirmation Order;

(f) To hear and determine all controversies, suits, and disputes that may relate to,
impact upon, or arise in connection with this Plan or any other Plan Documents or their
interpretation, implementation, enforcement, or consummation;

(g) To hear and determine all objections to the termination of the Asbestos PI Trust or
the Asbestos PD Trust;

(h) To determine such other matters that may be set forth in, or that may arise in
connection with, this Plan, the Confirmation Order, the Asbestos PI Channeling Injunction, the
Asbestos PD Channeling Injunction, the Successor Claims Injunction, the Asbestos Insurance
Entity Injunction, the Asbestos PI Trust Agreement, or the Asbestos PD Trust Agreement;

(i) To hear and determine any proceeding that involves the validity, application,
construction, enforceability, or request to modify the Asbestos PI Channeling Injunction, the
Asbestos PD Channeling Injunction, the Successor Claims Injunction, or the Asbestos Insurance
Entity Injunction;

Gj) To enter an order or final decree closing the Chapter 11 Cases;
(k) To hear and determine any other matters related hereto, including matters related

to the implementation and enforcement of all orders entered by the Court in the Chapter 11
Cases;

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(1) To enter such orders as are necessary to implement and enforce the injunctions
described herein; and

(m) To enter orders authorizing immaterial modifications to this Plan and to hear and
determine any issue involving the Asbestos PI Trust or the Asbestos PD Trust in order to comply
with section 468B of the IRC.

10.5 COMPENSATION OF PROFESSIONALS

To hear and determine all applications for allowance of compensation and reimbursement
of expenses of Professionals under Bankruptcy Code §§ 327, 328, 329, 330, 331, and 363 and
any other fees and expenses authorized to be paid or reimbursed under this Plan.

10.6 SETTLEMENTS

To the extent that Court approval is required, to consider and act on the compromise and
settlement of any Plan Claim or cause of action by or against the Debtors’ or Reorganized
Debtors’ estates, the Asbestos PI Trust, or the Asbestos PD Trust.

10.7 TAXES

To hear and determine matters concerning state, local, and federal taxes (including the
amount of net operating loss carryforwards), fines, penalties, or additions to taxes for which the

Debtors or Debtors in Possession may be liable, directly or indirectly, in accordance with
Bankruptcy Code §§ 346, 505, and 1146.

10.8 SPECIFIC PURPOSES

To hear and determine such other matters and for such other purposes as may be
provided in the Confirmation Order.

10.9 INSURANCE MATTERS

To hear and determine matters concerning the Asbestos Insurance Policies, Asbestos In-
Place Insurance Coverage, Asbestos Insurance Reimbursement Agreements, and Asbestos
Insurance Settlement Agreements; provided, however, that the Court shall have nonexclusive
jurisdiction over such matters.

ARTICLE 11
MISCELLANEOUS PROVISIONS

11.1 AUTHORITY OF THE DEBTORS
On the Confirmation Date, the Debtors shall be directed and authorized to take or cause

to be taken, prior to the Effective Date, all actions necessary to enable them to implement
effectively the provisions of this Plan, the other Plan Documents (including the Sealed Air

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Settlement Agreement and the Fresenius Settlement Agreement), and the creation of the
Asbestos PI Trust and the Asbestos PD Trust, and to cooperate with the Plan Proponents as
provided herein and with respect to matters related to the Plan generally.

11.2 AUTHORITY OF THE REORGANIZED DEBTORS TO GRANT NEW STOCK
INCENTIVE PLAN AND IMPOSE STOCK TRADING RESTRICTIONS

On the Effective Date, the Reorganized Parent’s Board of Directors shall have the
authority to grant stock incentive awards to the management of the Reorganized Debtors and to
other key employees, and to the Board of Directors of the Reorganized Debtors pursuant to the
Stock Incentive Plan and as described more fully in the Disclosure Statement. Also on the
Effective Date, the Board of Directors of the Reorganized Parent shall be authorized, in certain
circumstances, to impose trading restrictions on Parent Common Stock pursuant to the Stock
Trading Restrictions Term Sheet, and as described more fully in the Disclosure Statement.

11.3. PAYMENT OF STATUTORY FEES

All fees payable pursuant to section 1930 of title 28 of the United States Code, as
determined by the Court at the hearing on confirmation of this Plan, shall be paid by the Debtors
on or before the Effective Date.

11.4 RETAINED CAUSES OF ACTION

11.4.1 Maintenance of Causes of Action

Nothing in this Section 11.4 of this Plan shall be deemed to be a transfer by the Debtors
and the Reorganized Debtors of any claims, causes of action, or defenses relating to assumed
executory contracts or otherwise which are required by the Reorganized Debtors to conduct their
businesses in the ordinary course subsequent to the Effective Date. Moreover, except as
otherwise expressly contemplated by this Plan, the Sealed Air Settlement Agreement, the
Fresenius Settlement Agreement or other Plan Documents, and except for the Asbestos PI Trust
Causes of Action and the Asbestos PD Trust Causes of Action, from and after the Effective Date,
the Reorganized Debtors shall have and retain any and all rights to commence and pursue any
and all claims, causes of action, including the Retained Causes of Action, or defenses against any
parties, other Claimants and Holders of Equity Interests, whether such causes of action accrued
before or after the Petition Date.

The Reorganized Debtors shall retain and may exclusively enforce any and all such
claims, rights, or causes of action, including Retained Causes of Action, and commence, pursue,
and settle the causes of action in accordance with this Plan. The Reorganized Debtors shall have
the exclusive right, authority, and discretion to institute, prosecute, abandon, settle, or
compromise any and all such claims, rights, and causes of action, including Retained Causes of
Action, without the consent or approval of any third party and without any further order of the
Court.

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11.4.2 Preservation of All Causes of Action not Expressly Settled or Released

Unless a claim or cause of action against a Claimant or other Entity is expressly waived,
relinquished, released, compromised, or settled in this Plan or any Final Order, the Debtors
expressly reserve such claim or Retained Cause of Action (including any unknown causes of
action) for later adjudication by the Reorganized Debtors, the Asbestos PD Trust Causes of
Action related to Claims in Class 7A for later adjudication by the Reorganized Debtors on behalf
of the Asbestos PD Trust pursuant to the Class 7A CMO, the Asbestos PD Trust Causes of
Action related to Claims in Class 7B for later adjudication by the Asbestos PD Trust, and the
Asbestos PI Trust Causes of Action for later adjudication by the Asbestos PI Trust. Therefore,
no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, waiver, estoppel (judicial, equitable, or otherwise), or laches shall
apply to such claims, Retained Causes of Action, Asbestos PI Trust Causes of Action, or
Asbestos PD Trust Causes of Action upon or after the Confirmation Date or Effective Date of
this Plan based on the Disclosure Statement, this Plan or the Confirmation Order, except where
such claims or Retained Causes of Action have been released in this Plan or other F inal Order.
In addition, the Debtors, the Reorganized Debtors, and the successor entities under this Plan
expressly reserve the right to pursue or adopt any claim alleged in any lawsuit in which the
Debtors are defendants or an interested party, against any Entity, including the plaintiffs or co-
defendants in such lawsuits.

Any Entity to whom the Debtors have incurred an obligation (whether on account of
services, purchase or sale of goods or otherwise), or who has received services from the Debtors
or a transfer of money or property of the Debtors, or who has transacted business with the
Debtors, or leased equipment or property from the Debtors should assume that such obligation,
transfer, or transaction may be reviewed by the Debtors or the Reorganized Debtors, and may, if
appropriate, be the subject of an action after the Effective Date, whether or not (i) such Entity
has filed a proof of claim against the Debtors in the Chapter 11 Cases; (ii) such Claimant’s proof
of claim has been objected to; (iii) such Claimant’s Claim was included in the Debtors’
Schedules; or (iv) such Claimant’s scheduled Claim has been objected to by the Debtors or has
been identified by the Debtors as a Disputed Claim, a Contingent Claim, or an Unliquidated
Claim.

11.5 THIRD-PARTY AGREEMENTS

The Distributions to the various Classes of Plan Claims hereunder will not affect the right
of any Entity to levy, garnish, attach, or employ any other legal process with respect to such
Distributions by reason of any claimed subordination rights or otherwise. All of such rights and
any agreements relating thereto will remain in full force and effect.

11.6 REQUIREMENTS OF THE FRESENIUS SETTLEMENT AGREEMENT

Except as expressly waived in writing by Fresenius in its absolute discretion, each of the
provisions to be included in the Plan to satisfy the preconditions to the payment of the Fresenius
Payment set forth in the Fresenius Settlement Agreement and the other requirements of the
Fresenius Settlement Agreement, to the extent not already included herein or waived pursuant to

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the terms of the Fresenius Settlement Agreement, shall be included in Exhibit 13 in the Exhibit
Book and are hereby expressly incorporated herein by reference and made a part hereof as if the
same were fully set forth in this Plan.

11.7 REQUIREMENTS OF THE SEALED AIR SETTLEMENT AGREEMENT

Except as expressly waived in writing by each of Sealed Air Corporation and Cryovac,
Inc. in its absolute discretion, each of the provisions to be included in the Plan to satisfy the
preconditions to the payment of the Cryovac Payment set forth in the Sealed Air Settlement
Agreement and the other requirements of the Sealed Air Settlement Agreement, to the extent not
already included herein or waived pursuant to the terms of the Sealed Air Settlement Agreement,
shall be included in Exhibit 22 in the Exhibit Book and are hereby expressly incorporated herein
by reference and made a part hereof as if the same were fully set forth in this Plan.

11.8 DISSOLUTION OF THE UNSECURED CREDITORS’ COMMITTEE, THE
ASBESTOS PI COMMITTEE, THE ASBESTOS PD COMMITTEE AND THE
EQUITY COMMITTEE; CONTINUED RETENTION OF THE ASBESTOS PI
FUTURE CLAIMANTS’ REPRESENTATIVE AND THE ASBESTOS PD
FUTURE CLAIMANTS’ REPRESENTATIVE

The Debtors shall pay the reasonable fees and expenses incurred by the Asbestos PI
Committee, the Asbestos PD Committee, the Unsecured Creditors’ Committee, the Equity
Committee, the Asbestos PI Future Claimants’ Representative, and the Asbestos PD Future
Claimants’ Representative through the Effective Date in accordance with the fee and expense
procedures promulgated during the Chapter 11 Cases. On the Effective Date, except as set forth
below, the Asbestos PI Committee, the Asbestos PD Committee, the Unsecured Creditors’
Committee, and the Equity Committee shall thereupon be released and discharged of and from
all further authority, duties, responsibilities, and obligations relating to or arising from or in
connection with the Chapter 11 Cases, and those committees shall be deemed dissolved. After
the Effective Date, the rights, duties, and responsibilities of the Asbestos PI Future Claimants’
Representative shall be as set forth in the Asbestos PI Trust Agreement, and the rights, duties,
and responsibilities of the Asbestos PD Future Claimants’ Representative shall be as set forth in
the Asbestos PD Trust Agreement.

Notwithstanding the foregoing, if the Effective Date occurs prior to the entry of a Final
Order with respect to final fee applications of Professionals retained by order of the Bankruptcy
Court during the Chapter 11 Cases, the Unsecured Creditors’ Committee, the Asbestos PI
Committee, the Asbestos PD Committee, and the Equity Committee may, at their option,
continue to serve until a Final Order is entered with respect to such proceedings. Further, after
the Effective Date, the Unsecured Creditors’ Committee, the Asbestos PI Committee, the Equity
Committee, the Asbestos PI Future Claimants’ Representative, and the Asbestos PD Future
Claimants’ Representative shall continue in existence and have standing and capacity to (i)
object to any proposed modification of the Plan, (ii) object to or defend the Administrative
Expense Claims of Professionals employed by or on behalf of the Debtors or their estates, (iii)
participate in any appeals of the Confirmation Order (if applicable), (iv) prepare and prosecute
applications for the payment of fees and reimbursement of expenses, and (v) continue any
adversary proceeding (but not the Sealed Air Action or the Fresenius Action, each of which shall

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be dismissed with prejudice as a condition to the Effective Date), claim objection, appeal, or
other proceeding that was in progress prior to the Effective Date. Nothing in section (v) of the
foregoing sentence shall be deemed to confer standing and capacity on the Unsecured Creditors’
Committee, the Asbestos PI Committee, the Equity Committee, the Asbestos PI Future
Claimants' Representative, or the Asbestos PD Future Claimants' Representative to provide
services or take action in connection with an adversary proceeding, claim objection, appeal or
other proceeding that was in progress prior to the Effective Date where such services are for the
benefit of an individual creditor or creditors and do not serve the direct interests of the creditor or
equity interest class which such Entity is appointed to represent. The Reorganized Debtors shall
pay the reasonable fees and expenses incurred by the Unsecured Creditors’ Committee, the
Asbestos PI Committee, Equity Committee, the Asbestos PI Future Claimants’ Representative,
and the Asbestos PD Future Glaimants’ Representative relating to any post-Effective Date
activities authorized hereunder without further order of the Bankruptcy Court. Nothing in this
Section 11.8 shall purport to limit or otherwise affect the rights of the United States Trustee
under section 502 of the Bankruptcy Code or otherwise to object to Claims or requests for
allowances of Administrative Expense Claims.

11.9 EXCULPATION

None of the Reorganized Debtors, the Debtors, the Non-Debtor Affiliates, the Sealed Air
Indemnified Parties, the Fresenius Indemnified Parties, the Asbestos PI Committee, the Asbestos
PD Committee, the Unsecured Creditors’ Committee, the Equity Committee, the Asbestos PI
FCR, the Asbestos PD FCR, or any of their respective Representatives are to have or incur any
liability to any Entity for any act or omission in connection with or arising out of the Chapter 11
Cases, including the negotiation of this Plan or the settlements provided in the Sealed Air
Settlement Agreement and the Fresenius Settlement Agreement, the pursuit of confirmation of
this Plan, the consummation of this Plan or the settlements provided in the Sealed Air Settlement
Agreement or Fresenius Settlement Agreement, or the administration of this Plan or the property
to be distributed under this Plan so long as, in each case such action, or failure to act, did not
constitute gross negligence or willful misconduct. In all respects, they will be entitled to rely
upon the advice of counsel with respect to their duties and responsibilities under this Plan. Any
act or omission taken with the approval of the Bankruptcy Court will be conclusively deemed not
to constitute gross negligence or willful misconduct. This section is not intended to preclude a
governmental entity from enforcing its police and regulatory powers.

11.10 TITLE TO ASSETS; DISCHARGE OF LIABILITIES

Upon the transfer of the Asbestos PI Trust Assets into the Asbestos PI Trust, such
Asbestos PI Trust Assets shall be indefeasibly vested in the Asbestos PI Trust free and clear of
all claims, Equity Interests, Encumbrances, and other interests of any Entity. Notwithstanding
the foregoing, or anything else in this Plan to the contrary, the Asbestos PI Trust Assets shall
remain subject to any and all restrictions imposed by applicable securities laws and the Sealed
Air Common Stock transferred to the Asbestos PI Trust shall remain subject to any and all
restrictions imposed by the Sealed Air Settlement Agreement (including any rights of Sealed Air
under the Sealed Air Settlement Agreement) and applicable securities laws. Upon the transfer of
the Asbestos PD Trust Assets into the Asbestos PD Trust, such Asbestos PD Trust Assets shall
be indefeasibly vested in the Asbestos PD Trust free and clear of all claims, equity interests,

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Encumbrances, and other interests of any Entity. Except as otherwise provided in this Plan and
in accordance with Bankruptcy Code § 1123(b)(3), on the Effective Date, title to all of the
Debtors’ assets and properties and interests in property, including the Retained Causes of Action,
shall vest in the Reorganized Debtors free and clear of all claims, Equity Interests,
Encumbrances, and other interests, and the Confirmation Order shall be a judicial determination
of discharge of the liabilities of the Debtors.

11.11 ENTIRE AGREEMENT

Except as otherwise indicated, the Plan and the Plan Documents supersede all prior
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, including all plans of reorganization previously filed by any party in interest with the
Court in these Chapter 11 Cases.

11.12 NOTICES

Any notices, statements, requests, and demands required or permitted to be provided
under this Plan, in order to be effective, must be: (i) in writing (including by facsimile
transmission), and unless otherwise expressly provided herein, shall be deemed to have been
duly given or made (A) if personally delivered or if delivered by facsimile or courier service,
when actually received by the Entity to whom notice is sent, (B) if deposited with the United
States Postal Service (but only when actually received), at the close of business on the third
business day following the day when placed in the mail, postage prepaid, certified or registered
with return receipt requested, or (C) one (1) Business Day after being sent to the recipient by
reputable overnight courier service (charges prepaid) (but only when actually received) and (ii)
addressed to the appropriate Entity or Entities to whom such notice, statement, request or
demand is directed (and, if required, its counsel), at the address of such Entity or Entities set
forth below (or at such other address as such Entity may designate from time to time by written
notice to all other Entities listed below in accordance with this Section 11.12):

If to the Debtors: W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044
Attn: General Counsel
Telephone: (410) 531-4000
Facsimile: (410) 531-4545

With a copy to: Kirkland & Ellis LLP
601 Lexington Avenue
New York, NY 10022
Attn: Theodore L. Freedman
Telephone (212) 446-4800
Facsimile: (212) 446-4900

and
The Law Offices of Janet S. Baer, P.C.

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If to the Asbestos PI Committee:

If to the Asbestos PD Committee:

If to the Asbestos PI Future Claimants’
Representative:

70 W. Madison St.

Suite 2100

Chicago, IL 60602

Attn: Janet S. Baer
Telephone: 312-641-2162

and

Pachulski, Stang, Ziehl, & Jones LLP

919 North Market Street, 17" Floor

P.O. Box 8705

Wilmington, Delaware 19899-8705 (Courier
19801)

Attn: Laura Davis Jones/James E. O’Neill
Telephone: (302) 652-4100

Facsimile: (302) 652-4400

Caplin & Drysdale, Chartered

One Thomas Circle, NW, Suite 1100
Washington, DC 20005

Attn: Peter Lockwood/Ronald Reinsel
Telephone: (202) 862-5000
Facsimile: (202) 862-3301

and

Caplin & Drysdale, Chartered
375 Park Avenue, 35th Floor
New York, NY 10152

Attn: Elihu Inselbuch
Telephone: (212) 319-7125
Facsimile: (212) 644-6755

Bilzin Sumberg Baena Price & Axelrod LLP

200 South Biscayne Blvd., Suite 2500

Miami, FL 33131-5340

Attn: Scott L. Baena/Jay M. Sakalo/Mindy A.
Mora

Telephone: (305) 374-7580

Facsimile: (305) 374-7593

David T. Austern

3110 Fairview Park Drive
Suite 200

Falls Church VA 22042-0683

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With a copy to:

If to the Asbestos PD Future Claimants’
Representative: .

With a copy to:

If to the Unsecured Creditors’ Committee:

If to Sealed Air:

With a copy to:

If to Fresenius:

Telephone:
Facsimile:

(703) 205-0835
(703) 205-6249

Orrick, Herrington & Sutcliffe LLP
1152 15th Street, N.W.
Washington, D.C. 20005-1706
Attention: Roger Frankel
Telephone: (202) 339-8400
Facsimile: (202) 339-8500

Alexander M. Sanders, Jr.

19 Water Street

Charleston, South Carolina 29401
Telephone: (843) 953-5755
Facsimile: (843) 953-7570

Alan B. Rich

Attorney and Counselor
1401 Elm Street, Suite 4620
Dallas, Texas 75202-3909
Telephone: (214) 744-5100
Facsimile: (214) 744-5101

Stroock & Stroock & Lavan LLP

180 Maiden Lane

New York, NY 10038-4982

Attn: Lewis Kruger/Arlene Krieger/Kenneth
Pasquale
Telephone:
Facsimile:

(212) 806-5400
(212) 806-6006

Sealed Air Corporation

200 Riverfront Boulevard
Elmwood Park, NJ 07407
Attn: General Counsel
Telephone: (201) 791-7600
Facsimile: (201) 703-4113

Skadden, Arps, Slate, Meagher & Flom LLP
Four Times Square

New York, NY 10036

Attn: D. J. Baker

Telephone: (212) 735-3000

Facsimile: (212) 735-2000

Fresenius Medical Care North America

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Corporate Headquarters
Corporate Law Department

95 Hayden Avenue
Lexington, MA 02420-9192
Attn: General Counsel
Telephone: (781) 402-9000
Facsimile: (781) 402-9700

With a copy to: McDermott, Will & Emery
227 W. Monroe, Suite 4400
Chicago, IL 60606
+ Attn: David S. Rosenbloom
Telephone: (312) 372-2000
Facsimile: (312) 984-7700

If to the Equity Committee: Kramer Levin Naftalis & Frankel LLP
1177 Avenue of the Americas
New York, NY 10036
Attn: Phillip Bentley
Telephone: (212) 715-9100
Facsimile: (212) 715-8000

11.13, HEADINGS

The headings used in this Plan are inserted for convenience only and neither constitute a
portion of this Plan nor in any manner affect the construction of the provisions of this Plan.

11.14 GOVERNING LAW

Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules), the laws of the State of Delaware, without giving effect to any
conflicts of law principles thereof that would result in the application of the laws of any other
jurisdiction, shall govern the construction of this Plan and any agreements, documents, and
instruments executed in connection with this Plan, except as otherwise expressly provided in
such instruments, agreements, or documents.

11.15 FILING OF ADDITIONAL DOCUMENTS

On or before the Effective Date, the Plan Proponents shall File with the Court such
agreements and other documents, including the Plan Supplement, as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of this Plan.

11.16 COMPLIANCE WITH TAX REQUIREMENTS

In connection with this Plan, the Debtors, the Reorganized Debtors, the Asbestos PI
Trust, and the Asbestos PD Trust will comply with all applicable withholding and reporting
requirements imposed by federal, state, and local taxing authorities, and all Distributions

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hereunder or under any Plan Document shall be subject to such withholding and reporting
requirements, if any. Notwithstanding any other provision of this Plan, each Entity receiving a
Distribution pursuant to this Plan, or any other Plan Document, will have sole and exclusive
responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income tax and other obligations, on account of that Distribution.

11.17 EXEMPTION FROM TRANSFER TAXES

Pursuant to Bankruptcy Code § 1146(a), the issuance, transfer, or exchange of notes or
equity securities under this Plan, the creation of any mortgage, deed of trust, or other security
interest, the making or assignment of any lease or sublease, or the making or delivery of any
deed or other instrument of transfer under, in furtherance of, or in connection with this Plan shall
be exempt from all taxes as provided in Bankruptcy Code § 1146(a).

11.18 FURTHER ASSURANCES

The Debtors, the Reorganized Debtors, the Non-Debtor Affiliates, the Asbestos Protected
Parties, the Asbestos Insurance Entities, the Asbestos PI Trust, the Asbestos PD Trust and all
Holders of Plan Claims receiving Distributions under this Plan and all other parties in interest
shall, and shall be authorized to, from time to time, prepare, execute, and deliver any agreements
or documents and take any other action consistent with the terms of this Plan as may be
necessary to effectuate the provisions and intent of this Plan, with each such Entity to bear its
own costs incurred in connection therewith.

11.19 FURTHER AUTHORIZATIONS

The Plan Proponents, and, after the Effective Date, the Reorganized Debtors, the
Asbestos PI Trust, and the Asbestos PD Trust if and to the extent necessary, may seek such
orders, judgments, injunctions, and rulings that any of them deem necessary to carry out further
the intentions and purposes of, and to give full effect to the provisions of, this Plan, with each
such Entity to bear its own costs in connection therewith.

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Respectfully submitted,

W. R. GRACE & CO. (on behalf of itself and the other Debtors
and Debtors In Possession)

By:  /s/ Mark A. Shelnitz
Name: Mark A. Shelnitz
Title: Vice President, General Counsel & Secretary

OFFICIAL COMMITTEE OF ASBESTOS PERSONAL
INJURY CLAIMANTS

By:  /s/ Elihu Inselbuch
Name: Elihu Inselbuch
Title: Counsel to the Asbestos PI Committee

ASBESTOS PI FUTURE CLAIMANTS’ REPRESENTATIVE

By:  /s/ Roger Frankel
Name: David T. Austern by counsel

OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS

By: /s/R. Ted Weschler
Name: R. Ted Weschler
Title: Chairman of the Equity Committee

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Annex I

Pursuant to Section 7.7(nn) of the Plan, and not by way of limitation of the Sealed Air Settlement
Agreement, each of the SA Debtors and the SA Non-Debtors Affiliates shall:

a.

use its best efforts to cause each of the Asbestos PI Trust and the Asbestos PD Trust
(each, for purposes of this Annex I, a "Trust" and, collectively, the "Trusts") to qualify,
and to maintain its status, as a Qualified Settlement Fund (as defined in the Sealed Air
Settlement Agreement), provided, however, that nothing herein shall in any way be
construed as a representation, warranty, or covenant concerning the treatment for federal
income tax purposes of the transfer by Cryovac, Inc. of the Cryovac Payment (reduced by
the amount of the Asbestos PD Initial Payment) to the Asbestos PI Trust pursuant to
Section 7.2.2 of the Plan and the Asbestos PD Initial Payment to the Asbestos PD Trust
pursuant to Section 7.3.2 of the Plan and the Confirmation Order,

use its best efforts to cause the constitutive document(s) (including the Asbestos PI Trust
Agreement and the Asbestos PD Trust Agreement) of each of the Asbestos PI Trust and
the Asbestos PD Trust to contain provisions, reasonably satisfactory to Cryovac, Inc.,
qualifying and maintaining its status as a Qualified Settlement Fund (as defined in the
Sealed Air Settlement Agreement) and providing that Cryovac, Inc. or its designee shall
be a Transferor (as defined in the Sealed Air Settlement Agreement) to each Trust,

promptly provide to Cryovac, Inc. all Material Drafts (as defined in the Sealed Air
Settlement Agreement) of each Asbestos PI Trust Agreement, Asbestos PD Trust
Agreement and each Trust Document (as defined in the Sealed Air Settlement
Agreement) (but excluding or redacting the Asbestos PI TDP and ZAI TDP), provided,
however, that Cryovac, Inc. shall keep any such Material Draft (as defined in the Sealed
Air Settlement Agreement) confidential and shall disclose any such Material Draft (as
defined in the Sealed Air Settlement Agreement) only to Sealed Air Corporation, and
officers, employees, and advisors of Cryovac, Inc., Sealed Air Corporation, or its
Affiliates, and only after such Entity agrees to keep such Material Draft (as defined in the
Sealed Air Settlement Agreement) confidential but may disclose to any and all Entities,
without limitation of any kind, the tax treatment and any facts that may be relevant to the
tax structure of the transactions contemplated by the Sealed Air Settlement Agreement,

incorporate promptly, if it is the party drafting such document, or if otherwise, urge the
party drafting such document promptly to incorporate, into any such document each
provision with respect to the subject matter set forth or referred to in paragraphs II(c)(ix),
(x), and (xi), paragraph VI(g), clauses (i)(A) through (C) of paragraph VI(c) of the Sealed
Air Settlement Agreement and clauses o. and p. and sub-clauses h(1) through (3) of this
Annex I, as the case may be, that are reasonably requested by Cryovac, Inc.,

take all Defined Actions (as defined in the Sealed Air Settlement Agreement) required to
be taken pursuant to, or that are reasonably requested by Sealed Air Corporation and
consistent with the provisions of, paragraphs II(c)(ix), (x), or (xi), or VI(g), of the Sealed
Air Settlement Agreement and clauses o. and p. of this Annex I, as the case may be,
provided, however, that it shall not be required to take a Defined Action (as defined in the
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Sealed Air Settlement Agreement) as required pursuant to this clause e. if each of the
following four requirements has been previously satisfied (1) it has fully performed all of
its obligations set forth in paragraph VI(f) of the Sealed Air Settlement Agreement or
clause n. of this Annex I, (2) it has received a Contrary Opinion (as defined in the Sealed
Air Settlement Agreement) with respect to such Defined Action (as defined in the Sealed
Air Settlement Agreement) required or prohibited pursuant to paragraph VI(b) of the
Sealed Air Settlement Agreement or clauses e., f. and g. of this Annex I, as the case may
be, (3) it has provided a copy of such Contrary Opinion (as defined in the Sealed Air
Settlement Agreement) to Sealed Air Corporation, and (4) within forty-five days of the
receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed Air
Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air
Opinion (as defined in the Sealed Air Settlement Agreement),

f. be prohibited from taking any Defined Action (as defined in the Sealed Air Settlement
Agreement) prohibited from being taken pursuant to, or that is inconsistent with the
provisions of, paragraphs II(c)(ix), (x), or (xi), or VI(g), of the Sealed Air Settlement
Agreement and clauses o. and p. of this Annex I, provided, however, that it shall not be
prohibited from taking a Defined Action (as defined in the Sealed Air Settlement
Agreement) as required pursuant to this clause f. if each of the following four
requirements has been previously satisfied (1) it has fully performed all of its obligations
set forth in paragraph VI(f) of the Sealed Air Settlement Agreement or clause n. of this
Annex I, (2) it has received a Contrary Opinion (as defined in the Sealed Air Settlement
Agreement) with respect to such Defined Action (as defined in the Sealed Air Settlement
Agreement) required or prohibited pursuant to paragraph VI(b) of the Sealed Air
Settlement Agreement or clauses e., f. and g. of this Annex I, as the case may be, (3) it
has provided a copy of such Contrary Opinion (as defined in the Sealed Air Settlement
Agreement) to Sealed Air Corporation, and (4) within forty-five days of the receipt by
Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed Air
Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air
Opinion (as defined in the Sealed Air Settlement Agreement),

g. use its best efforts not to make any statement in a court document filed in the SA Debtors’
Chapter 11 Cases or in any oral statement to the court in the SA Debtors’ Chapter 11
Cases that is prohibited by, or inconsistent with the provisions of, paragraphs II(c)(ix),
(x), or (xi), or VI(g), of the Sealed Air Settlement Agreement or clauses o. and p. of this
Annex I, as the case may be, provided, however, that it shall not be required to take, or be
prohibited from taking, as the case may be, a Defined Action (as defined in the Sealed
Air Settlement Agreement) as required pursuant to this paragraph g. if each of the
following four requirements has been previously satisfied (1) it has fully performed all of
its obligations set forth in paragraph VI(f) of the Sealed Air Settlement or clause n. of this
Annex I Agreement, as the case may be, (2) it has received a Contrary Opinion (as
defined in the Sealed Air Settlement Agreement) with respect to such Defined Action (as
defined in the Sealed Air Settlement Agreement) required or prohibited pursuant to this
sentence, (3) it has provided a copy of such Contrary Opinion (as defined in the Sealed
Air Settlement Agreement) to Sealed Air Corporation, and (4) within forty-five days of
the receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed

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Air Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air
Opinion (as defined in the Sealed Air Settlement Agreement),

bh. promptly notify Cryovac, Inc. and Sealed Air Corporation upon receipt by any of them or
any of their Affiliates of any notice of any pending or threatened audit or assessment,
suit, litigation, proposed adjustment, deficiency, dispute, administrative or judicial
proceeding or other similar Claim (as defined in the Sealed Air Settlement Agreement)
involving any of them or any of their Affiliates from any Tax authority or any other
Entity challenging (1) the qualification of the Asbestos PI Trust or the Asbestos PD Trust
as a Qualified Settlement Fund (as defined in the Sealed Air Settlement Agreement), (2)
the qualification of Cryovac, Inc. as a Transferor (as defined in the Sealed Air Settlement
Agreement) to the Asbestos PI Trust or the Asbestos PD Trust, (3) the transfer by
Cryovac, Inc. of the Cryovac Payment (reduced by the amount of the Asbestos PD Initial
Payment) to the Asbestos PI Trust pursuant to Section 7.2.2 of the Plan or the
Confirmation Order and the Asbestos PD Initial Payment to the Asbestos PD Trust
pursuant to Section 7.3.2 of the Plan or the Confirmation Order as a direct payment by
Cryovac, Inc. to the Asbestos PI Trust or the Asbestos PD Trust for Asbestos Claims that
constitutes an ordinary and necessary expense of Cryovac, Inc. (for purposes of this
Annex I, any such audit or assessment, suit, litigation, proposed adjustment, deficiency,
dispute, administrative or judicial proceeding or other similar Claim (as defined in the
Sealed Air Settlement Agreement), for purposes of this Annex I a "Tax Claim"),

i. permit, and cause their respective Affiliates to permit, Cryovac, Inc. and Sealed Air
Corporation to participate at their expense in the defense or prosecution of any Tax Claim
(including to participate in all discussions with the Tax authorities regarding any Tax
Claim and to be allowed to provide affirmative suggestions or comments with respect-to
any written submissions or communications to the Tax authorities regarding any Tax
Claims, which comments and suggestions shall be incorporated into such written
submissions or communications with the consent of the SA Debtors, such consent not to
be unreasonably withheld),

j. consult with Cryovac, Inc. and Sealed Air Corporation in connection with the defense or
prosecution of any Tax Claim and provide such cooperation and information as Cryovac,
Inc. and Sealed Air Corporation shall reasonably request with respect to any Tax Claim,

k. agree to use its best efforts to attempt to sever any Tax Claim from other issues raised in
any audit or assessment, suit, litigation, proposed adjustment, deficiency, dispute,
administrative or judicial proceeding or other similar Claim (as defined in the Sealed Air
Settlement Agreement) and shall instruct their, and their Affiliates’, respective Chief
Executive Officer, Chief Financial Officer, and Director of Taxes to deliver, and shall
cause each of their Affiliates, to deliver to Cryovac, Inc. and Sealed Air Corporation:

1. promptly after the receipt of any document received from the IRS relating to a
Tax Claim, a copy of such document;

2. any document delivered to the IRS with respect to a Tax Claim promptly after
such document is delivered to the IRS, provided, however, that, if such document

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was prepared in response to a request by the IRS, then prior to the delivery of
such document to the IRS, Cryovac, Inc. and Sealed Air Corporation shall be
allowed to provide affirmative suggestions or comments with respect to any such
document, as provided in paragraph VI(c)(ii) of the Sealed Air Settlement
Agreement and clauses i. and j. of this Annex I;

3. at least five days prior to any meeting or conference (whether in person or by
teleconference) scheduled with the IRS during which a Tax Claim may be
discussed, with written notice of such scheduled meeting or conference, and an
opportunity to attend the portions of such meeting or conference during which any
Tax Claim is discussed; and

4. with cooperation and information reasonably requested by Cryovac, Inc. or Sealed
Air Corporation in connection with any Tax Claim, including, at Cryovac, Inc.'s
or Sealed Air Corporation's request, status updates with respect to all Tax Claims.

I. be entitled to redact any document to be provided to Cryovac, Inc. or Sealed Air
Corporation in furtherance of the obligations set forth in clause k. of this Annex I to
exclude information not pertinent to the Tax Claim,

m. not settle or otherwise dispose of any Tax Claim unless otherwise required by a Final
Determination (as defined in the Sealed Air Settlement Agreement),

n. if any of the SA Debtors or the SA Non-Debtor Affiliates has determined that an issue
(for the purposes of this Annex I such issue, a "Paragraph VI(f) Issue") may exist with
respect to its taking, or the failure to take, a Defined Action (as defined in the Sealed Air
Settlement Agreement) as required pursuant to paragraph II(c)(ix), (x), or (xi), or VI(b) or
VI(g), of the Sealed Air Settlement Agreement or clauses e., f., g., 0., and p., of this
Annex I, as the case may be, then, prior to delivering a Contrary Opinion (as defined in
the Sealed Air Settlement Agreement) to Sealed Air Corporation with respect to such
Defined Action (as defined in the Sealed Air Settlement Agreement) in accordance with
the provisos set forth in paragraph II(c)(ix), (x), or (xi), VI(b) or VI(g) of the Sealed Air
Settlement Agreement, or clauses e., f., g., 0., and p., of this Annex I, as the case may be,
(1) provide to Sealed Air Corporation, as promptly as practicable, a written notice
identifying such Defined Action (as defined in the Sealed Air Settlement Agreement) and
describing in detail the Paragraph VI(f) Issue and (2) consult and act (and cause its
advisors to, consult and act) in good faith to determine and resolve (i) if such issue relates
to a Tax issue, whether, as a result of a Change in Circumstances, there is no "reasonable
basis", as defined in IRC section 6662 (or successor provision thereof), for the taking of,
or the failure to take, such Defined Action (as defined in the Sealed Air Settlement
Agreement) by such Entity or (ii) if such issue relates to an accounting issue, whether, as
a result of a Change in Circumstances, the taking, or the failure to take, such Defined
Action (as defined in the Sealed Air Settlement Agreement) is inconsistent with generally
accepted accounting principles. For purposes of this Annex I, "Change in
Circumstances" shall mean (i) for U.S. federal income tax purposes, (x) any amendment
to the IRC or the final or temporary regulations promulgated under the IRC, (y) a
decision by any federal court, or (z) a Revenue Ruling, Notice, Revenue Procedure, or

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Announcement, which amendment is enacted, promulgated, issued, or announced, or
which decision, Revenue Ruling, Notice, Revenue Procedure, or Announcement is issued
or announced, in each case, after the Effective Date, and (ii) for financial accounting
purposes, any amendment to or change in generally accepted accounting principles,
which amendment is issued or announced or, which change occurs, in each case, after the
Effective Date.

o. unless otherwise required by a Final Determination (as defined in the Sealed Air
Settlement Agreement), (1) file all Tax Returns required to be filed by such Entity, if any,
consistent with the provisions of paragraph II(c)(ix) of the Sealed Air Settlement
Agreement and take all other Defined Actions (as defined in the Sealed Air Settlement
Agreement) that are reasonably requested by Sealed Air Corporation and consistent with
the provisions of paragraph II(c)(ix) of the Sealed Air Settlement Agreement, and (2) be
prohibited, from taking any Defined Action (as defined in the Sealed Air Settlement
Agreement) that may result in the disqualification of the Asbestos PI Trust or the
Asbestos PD Trust as a Qualified Settlement Fund (as such term is defined in the Sealed
Air Settlement Agreement) or be inconsistent with Cryovac, Inc. being treated as a
Transferor (as defined in the Sealed Air Settlement Agreement) of the Cryovac Payment
(reduced by the amount of the Asbestos PD Initial Payment) directly to the Asbestos PI
Trust pursuant to Section 7.2.2 of the Plan and the Confirmation Order and the Asbestos
PD Initial Payment directly to the Asbestos PD Trust pursuant to Section 7.3.2 of the
Plan and the Confirmation Order; provided, however, that it shall not be required to take,
or be prohibited from taking, as the case may be, a Defined Action (as defined in the
Sealed Air Settlement Agreement) as required pursuant to this clause o. if each of the
following four requirements has been previously satisfied: (1) it has fully performed all
of its obligations set forth in paragraph VI(f) of the Sealed Air Settlement Agreement and
clause n. of this Annex I, as the case may be, (2) it has received a Contrary Opinion (as
defined in the Sealed Air Settlement Agreement) with respect to such Defined Action (as
defined in the Sealed Air Settlement Agreement) required or prohibited pursuant to this
clause o., (3) it has provided a copy of such Contrary Opinion (as defined in the Sealed
Air Settlement Agreement) to Sealed Air Corporation, and (4) within forty-five days of
the receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed
Air Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air
Opinion (as defined in the Sealed Air Settlement Agreement),

p. treat for all Tax purposes any and all payments by Cryovac, Inc. of the Cryovac Payment
(reduced by the amount of the Asbestos PD Initial Payment) to the Asbestos PI Trust
pursuant to Section 7.2.2 of the Plan and the Confirmation Order and the Asbestos PD
Initial Payment to the Asbestos PD Trust pursuant to Section 7.3.2 of the Plan and the
Confirmation Order as a direct payment by Cryovac, Inc. to the Asbestos PI Trust or the
Asbestos PD Trust for Asbestos Claims that constitutes an ordinary and necessary
expense of Cryovac, Inc., and, unless otherwise required by a Final Determination (as
defined in the Sealed Air Settlement Agreement):

1. for financial accounting or any other regulatory purpose, be prohibited from
treating any payment by Cryovac, Inc. to the Asbestos PI Trust or the Asbestos
PD Trust pursuant to the Plan or the Confirmation Order as a payment by

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Cryovac, Inc. to any of the SA Debtors or SA Non-Debtor Affiliates, or as a
payment by any SA Debtor or SA Non-Debtor Affiliate to any Entity (including
to the Asbestos PI Trust or the Asbestos PD Trust) (or treating such payment as,
or resulting in, an expense or deduction of any Debtor or Non-Debtor Affiliate),

2. for Tax purposes, be prohibited from claiming that any payment by Cryovac, Inc.
to the Asbestos PI Trust or the Asbestos PD Trust pursuant to the Plan or the
Confirmation Order results in or gives rise (directly or indirectly) to the accrual or
allowance of a deduction or expense, or income to, or any other transfer of any
type to, any SA Debtor or SA Non-Debtor Affiliate,

3. take all Defined Actions (as defined in the Sealed Air Settlement Agreement) that
are reasonably requested by Sealed Air Corporation and consistent with the
provisions of this clause p.,

4. not take any position inconsistent with the foregoing on any Tax Return or with
any Tax authority, and

5. not make any statement in any public or regulatory filing or release or otherwise,
or take any other Defined Action (as defined in the Sealed Air Settlement
Agreement), that is inconsistent with the obligations of such Entity pursuant to
this clause p.,

provided, however, that with respect to sub-clauses p.3 and p.5 above, it shall not be
required to take, or be prohibited from taking, as the case may be, a Defined Action (as
defined in the Sealed Air Settlement Agreement) as required pursuant to this clause p. if
each of the following four requirements has been previously satisfied: (1) it has fully
performed all of its obligations set forth in paragraph VI(f) of the Sealed Air Settlement
Agreement and clause n. of this Annex 1, as the case may be, (2) it has received a
Contrary Opinion (as defined in the Sealed Air Settlement Agreement) with respect to
such Defined Action (as defined in the Sealed Air Settlement Agreement) required or
prohibited pursuant to this clause p., (3) it has provided a copy of such Contrary Opinion
(as defined in the Sealed Air Settlement Agreement) to Sealed Air Corporation, and (4)
within forty-five days of the receipt by Sealed Air Corporation of such Contrary Opinion
(as defined in the Sealed Air Settlement Agreement), Sealed Air Corporation has not
provided it with a Sealed Air Opinion (as defined in the Sealed Air Settlement
Agreement),

q. be entitled to prepare and execute (but not file) a Protective Claim (as defined in the
Sealed Air Settlement Agreement and, for purposes of this Annex I, with respect to each
of the SA Debtors and the SA Non-Debtors Affiliates, a "Grace Protective Claim"),
(which filing shall be effected only by Cryovac, Inc. pursuant to, and in accordance with,
the provisions of the Settlement Agreement) for the taxable year of the SA Debtors in
which the transfers by Cryovac, Inc. of the Cryovac Payment (reduced by the amount of
the Asbestos PD Initial Payment) to the Asbestos PI Trust pursuant to Section 7.2.2 of the
Plan or the Confirmation Order and the Asbestos PD Initial Payment to the Asbestos PD
Trust pursuant to Section 7.3.2 of the Plan or the Confirmation Order (for purposes of

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this Annex I, the "Transfer") are made, or for any other prior (solely with respect to a
carryback from the taxable year of the Transfer) or subsequent taxable year in which the
Tax Benefits (as defined in the Sealed Air Settlement Agreement) realized as a result of
such Transfer may be claimed by the SA Debtors (for purposes of this Annex I any such
taxable year, a "Relevant Tax Year"), and require Cryovac, Inc. to file such Grace
Protective Claim with the IRS or other governmental authority for and on behalf of the
SA Debtors; provided, however, that a Grace Protective Claim shall not be required to be
filed by Cryovac, Inc. at any time prior to 15 days before the expiration (taking into
account all extensions thereof) of the applicable statute of limitations for the SA Debtors
to file an amended return ("SOL") for the Relevant Tax Year, and provided further that
notwithstanding anything to the contrary set forth in paragraph VI(h) of the Sealed Air
Settlement Agreement and clauses q., r., s., t. and u. of this Annex I, the Debtors may
prepare and execute a Grace Protective Claim, and require Cryovac, Inc. to file such
Grace protective Claim with the IRS or other governmental authority for a Relevant Tax
Year, only if each of the following requirements has been previously satisfied:

1. the SA Debtors have granted each extension (and each further extension) to the
applicable SOL for such Relevant Tax Year that has been requested by the IRS,

2. at the time of each such request by the IRS referred to in sub-clause p.1, above, to
extend (or further extend) the applicable SOL for such Relevant Tax Year, the SA
Debtors shall have used their best efforts to extend (and cause the IRS to agree to
extend) such SOL for a period of two (2) years or longer;

3. in the event that the IRS has not requested the SA Debtors to extend (or further
extend) the applicable SOL for such Relevant Tax Year prior to 180 days prior -to
the end of such SOL, the SA Debtors shall have used their best efforts to extend
(and cause the IRS to agree to extend) such SOL for a period of two (2) years or
longer;

4. the SA Debtors shall have provided to Cryovac, Inc. a written statement by their
Chief Financial Officer that each of the requirements set forth immediately above
in sub- clauses p.1, 2, and 3 has been satisfied in all respects; and

r. at the request of Sealed Air Corporation, prepare and execute a Grace Protective Claim to
be filed by Sealed Air Corporation pursuant to paragraph VI(h)(ii) of the Sealed Air
Settlement Agreement or this clause r.

s. pay to Cryovac, Inc. in immediately available funds fifty (50) percent of the amount of
any Tax Benefit (as defined in the Sealed Air Settlement Agreement) realized as a result
of the Transfer no later than ten (10) days after such Tax Benefit (as defined in the Sealed
Air Settlement Agreement) has been deemed to have been Actually Realized (as defined
in and determined pursuant to the Sealed Air Settlement Agreement),

t. ifrequested by Sealed Air Corporation, use their best efforts to extend (and cause the IRS
to agree to extend) the applicable SOL for any Relevant Tax Year,

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u. include in Part II of Form 1120X (or applicable section of any similar state or local tax
form) of any Grace Protective Claim the language set forth on Exhibit 7 of the Sealed Air
Settlement Agreement and only such other language as may be mutually agreed to by the
SA Debtors and Cryovac, Inc. (or Sealed Air Corporation),

v. withdraw all Grace Protective Claims upon a Cryovac Final Determination (as defined in
the Sealed Air Settlement Agreement) that the Transfer results in a Tax Benefit (as
defined in the Sealed Air Settlement Agreement) to Cryovac, Inc. (or the affiliated group
filing a consolidated Tax Return of which Sealed Air Corporation is the common parent),
and provide a written statement to Cryovac, Inc. signed by the Chief Financial Officer of
the SA Debtors stating that all Grace Protective Claims have been withdrawn,

w. upon notice by Cryovac, Inc. as provided in paragraph VI(i) of the Sealed Air Settlement
Agreement, as the case may be, or if otherwise requested in writing by Cryovac, Inc., use
reasonable best efforts to pursue all Grace Protective Claims and keep Cryovac, Inc. fully
informed of, and permit Cryovac, Inc. to participate in, all developments with respect to
all such Grace Protective Claims in a manner consistent with the provisions set forth in
paragraphs VI(c)(ii) through (vi) of the Sealed Air Settlement Agreement and clauses i.,
j., k., |, and m. of this Annex I, as the case may be,

X. no later than ten (10) days after the SA Debtors shall have Actually Realized (as defined
in the Sealed Air Settlement Agreement) a Tax Benefit (as defined in the Sealed Air
Settlement Agreement) as a result of the Transfer, provide Cryovac, Inc. with a detailed
statement (for the purposes of this Annex I, the "Tax Benefit Statement") specifying (1)
the amount of the Tax Benefit (as defined in the Sealed Air Settlement Agreement) that
was Actually Realized (as defined in the Sealed Air Settlement Agreement) by the SA
Debtors and any information relevant to the computation thereof (including full access to
any applicable Tax Return, non-proprietary work papers and other materials and
information of the SA Debtors and their accountants), (2) the date that such Tax Benefit
(as defined in the Sealed Air Settlement Agreement) was Actually Realized (as defined in
the Sealed Air Settlement Agreement), (3) the amount of deduction, loss, credit or
exclusion initially claimed by the SA Debtors as a result of the Transfer (for purposes of
this Annex J, the "Initial Tax Benefit Item"), (4) the amount of the Initial Tax Benefit
Item that is utilized by the SA Debtors to create such Tax Benefit (as defined in the
Sealed Air Settlement Agreement) Actually Realized (as defined in the Sealed Air
Settlement Agreement) (including as a result of all or a portion of the Initial Tax Benefit
Item being carried back or forward), and (5) the amount of the Initial Tax Benefit Item
not yet utilized by the SA Debtors (to create a Tax Benefit (as defined in the Sealed Air
Settlement Agreement) Actually Realized (as defined in the Sealed Air Settlement
Agreement)) that will be carried forward,

y. no later than 30 days after the SA Debtors have filed their U.S. federal consolidated
income Tax Return for each year beginning the year that includes the Tax Benefit Start
Date (as defined in the Sealed Air Settlement Agreement), deliver to Cryovac, Inc. an
annual statement (for purposes of this Annex I, the "CFO Annual Statement"), signed by
their Chief Financial Officer under penalties of perjury, that sets forth (1) the amount of
the Tax Benefits (as defined in the Sealed Air Settlement Agreement) Actually Realized

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(as defined in the Sealed Air Settlement Agreement), if any, by the SA Debtors as a result
of the Transfer during the preceding taxable year (including, without limitation, as a
result of an amended return for any taxable year, a loss or deduction being utilized for
such preceding taxable year, a loss or credit carryback from such preceding taxable year,
or a loss or credit carryforward to such preceding taxable year), (2) the date (or dates)
such Tax Benefits were Actually Realized (as defined in the Sealed Air Settlement
Agreement) during such taxable year, (3) the amount of the Initial Tax Benefit Item, (4)
the amount of the Initial Tax Benefit Item that is utilized by the SA Debtors to create
such Tax Benefit (as defined in the Sealed Air Settlement Agreement) Actually Realized
(as defined in the Sealed Air Settlement Agreement), and (5) the amount of the Initial
Tax Benefit Item not yet utilized by the SA Debtors (to create a Tax Benefit (as defined
in the Sealed Air Settlement Agreement) Actually Realized (as defined in the Sealed Air
Settlement Agreement)) that will be carried forward,

z. provide Cryovac, Inc. with all information relevant to the computation of such Tax
Benefits (as defined in the Sealed Air Settlement Agreement) Actually Realized (as
defined in the Sealed Air Settlement Agreement) by the SA Debtors set forth in clause
y.1 of this Annex 1 (including full access to any applicable Tax Return, the non-
proprietary work papers, and other materials and information of the SA Debtors and their
accountants),

aa. within fifteen (15) days after the SA Debtors! receipt of a Tax Benefit Dispute Notice (as
defined in the Sealed Air Settlement Agreement), unless the matters in the Tax Benefit
Dispute Notice (as defined in the Sealed Air Settlement Agreement) have otherwise been
resolved by mutual agreement of the parties, select, jointly with Cryovac, Inc., a
nationally-recognized independent certified public accountant (for purposes of this
Annex I, the "Tax Benefit Accountant"); provided, however, if the SA Debtors and
Cryovac, Inc. are unable to agree upon the Tax Benefit Accountant within such fifteen
(15) day period, then the SA Debtors and Cryovac, Inc. shall each select a nationally-
recognized independent certified public accountant which shall then jointly choose the
Tax Benefit Accountant within fifteen (15) days thereafter, and the terms of the
engagement of such Tax Benefit Accountant shall require the Tax Benefit Accountant to
comply with paragraph VI()(iv) of the Sealed Air Settlement Agreement,

bb. pay to Cryovac, Inc. in immediately available funds no later than five (5) days after
delivery of the Tax Benefit Report (as defined in the Sealed Air Settlement Agreement)
to the SA Debtors and Cryovac, Inc. the sum of (x) the excess, if any, of fifty (50) percent
of the amount of the Tax Benefit (as defined in the Sealed Air Settlement Agreement)
Actually Realized (as defined in the Sealed Air Settlement Agreement) set forth in the
Tax Benefit Report (as defined in the Sealed Air Settlement Agreement) over the amount
previously paid, if any, by the SA Debtors to Cryovac, Inc. with respect thereto and (y)
interest with respect to any such excess, as provided for in paragraph VI(k) of the Sealed
Air Settlement Agreement,

cc. if a loss, deduction, credit or exclusion that resulted in Tax Benefit that was Actually
Realized (as defined in the Sealed Air Settlement Agreement) by the SA Debtors is later
denied by a Taxing authority by (x) a decision, decree or other order by a court of

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competent jurisdiction, which has become final and unappealable or (y) any other means
(including a closing agreement or accepted offer in compromise under section 7121 or
7122 of the Internal Revenue Code) if Cryovac, Inc. has consented to such other means,
which consent shall not be unreasonably withheld or delayed, provide (1) a written
statement, signed under penalties of perjury by the Chief Financial Officer of the SA
Debtors, that states (i) the amount of such loss, deduction, credit or exclusion that was
denied, (ii) the amount of the Tax Benefits (as defined in the Sealed Air Settlement
Agreement) Actually Realized (as defined in the Sealed Air Settlement Agreement) that
was initially determined and paid by the SA Debtors to Cryovac, Inc. for such taxable
period, and (iii) the revised amount of the Tax Benefit (as defined in the Sealed Air
Settlement Agreement) Actually Realized (as defined in the Sealed Air Settlement
Agreement) for such taxable period taking into account the denial of such loss, deduction,
credit or exclusion, and (2) provide to Cryovac, Inc. any information relevant to the
computation of such initial and revised amount of the Tax Benefits (as defined in the
Sealed Air Settlement Agreement) Actually Realized (as defined in the Sealed Air
Settlement Agreement) by the SA Debtors (including full access to any applicable Tax
Return, the non-proprietary work papers, and other materials and information of the SA
Debtors and their accountants), and

dd. perform all other actions required, and refrain from taking any other activities precluded,
by the Sealed Air Settlement Agreement.

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Annex II

Pursuant to Section 7.7(00) of the Plan, and not by way of limitation of the Sealed Air
Settlement Agreement, unless indicated otherwise:

a. each of the Plaintiffs, the Asbestos PI Trust and the Asbestos PD Trust shall,
unless otherwise required by a Final Determination, (1) file all Tax Returns
required to be filed by it, if any, consistent with the provisions of this clause a.
and shall take all other Defined Actions (as defined in the Sealed Air Settlement
Agreement) that are reasonably requested by Sealed Air Corporation and
consistent with the provisions of this clause a., and (2) be prohibited from taking
any Defined Action (as defined in the Sealed Air Settlement Agreement) that may
result in the disqualification of the Asbestos PI Trust or the Asbestos PD Trust as
a Qualified Settlement Fund (as defined in the Sealed Air Settlement Agreement)
or be inconsistent with Cryovac, Inc. being treated as a "transferor" (as defined
under Treasury Regulations section 1.468B-1(d)) (for purposes of this Annex II
the "Transferor") of the Cryovac Payment (reduced by the amount of the Asbestos
PD Initial Payment) directly to the Asbestos PI Trust pursuant to Section 7.2.2 of
the Plan and the Confirmation Order and the Asbestos PD Initial Payment directly
to the Asbestos PD Trust pursuant to Section 7.3.2 of the Plan and the
Confirmation Order, provided, however, that it shall not be required to take, or be
prohibited from taking, as the case may be, a Defined Action (as defined in the
Sealed Air Settlement Agreement) as required pursuant to this clause a. if each of
the following four requirements has been previously satisfied (i) it has fully
performed all of its obligations set forth in paragraph VI(f) of the Sealed Air
Settlement Agreement, (ii) it has received a Contrary Opinion (as defined in the
Sealed Air Settlement Agreement) with respect to such Defined Action (as
defined in the Sealed Air Settlement Agreement) required or prohibited pursuant
to this clause a., (iii) it has provided a copy of such Contrary Opinion (as defined
in the Sealed Air Settlement Agreement) to Sealed Air Corporation, and (iv)
within forty-five days of the receipt by Sealed Air Corporation of such Contrary
Opinion (as defined in the Sealed Air Settlement Agreement), Sealed Air
Corporation has not provided it with a Sealed Air Opinion (as defined in the
Sealed Air Settlement Agreement),

b. the Asbestos PI Trust and the Asbestos PD Trust shall, unless otherwise required
by a Final Determination (as defined in the Sealed Air Settlement Agreement),
treat for all Tax purposes any and all payments by Cryovac Inc. pursuant to
Sections 7.2.2 and 7.2.3 of the Plan and the Confirmation Order, as a direct
payment by Cryovac, Inc. to the Asbestos PI Trust or the Asbestos PD Trust, as
applicable, for Asbestos Claims that constitutes an ordinary and necessary
expense of Cryovac, Inc, and each of the Plaintiffs, the Asbestos PI Trust and the
Asbestos PD Trust shall, unless otherwise required by a Final Determination (as
defined in the Sealed Air Settlement Agreement): (1) be prohibited from taking
any Defined Action (as defined in the Sealed Air Settlement Agreement) that is
inconsistent with the foregoing provisions of this clause b., and (2) take all
Defined Actions (as defined in the Sealed Air Settlement Agreement) that are
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reasonably requested by Sealed Air Corporation and consistent with the
provisions of this clause b.; provided, however, that it shall not be required to
take, or be prohibited from taking, as the case may be, a Defined Action (as
defined in the Sealed Air Settlement Agreement) as required pursuant to sub-
clauses (1) and (2) of this clause b. if each of the following four requirements has
been previously satisfied (i) it has fully performed all of its obligations set forth in
paragraph VI(f) of the Sealed Air Settlement Agreement, (ii) it has received a
Contrary Opinion (as defined in the Sealed Air Settlement Agreement) with
respect to such Defined Action (as defined in the Sealed Air Settlement
Agreement) required or prohibited pursuant to this clause b., (iii) it has provided a
copy of such Contrary Opinion (as defined in the Sealed Air Settlement
Agreement) to Sealed Air Corporation, and (iv) within forty-five days of the
receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the
Sealed Air Settlement Agreement), Sealed Air Corporation has not provided it
with a Sealed Air Opinion (as defined in the Sealed Air Settlement Agreement),

if it has determined that an issue (for the purposes of this Annex II such issue, a
"Paragraph VI(f) Issue") may exist with respect to its taking, or the failure to take,
a Defined Action (as defined in the Sealed Air Settlement Agreement) as required
pursuant to paragraph II(c)(ix) or (x), of the Sealed Air Settlement Agreement or
clauses a. and b., of this Annex II, as the case may be, then, prior to delivering a
Contrary Opinion (as defined in the Sealed Air Settlement Agreement) to Sealed
Air Corporation with respect to such Defined Action (as defined in the Sealed Air
Settlement Agreement) in accordance with the provisos set forth in paragraph
II(c)Gx) or (x) of the Sealed Air Settlement Agreement, or clauses a. and b., of
this Annex II, as the case may be, each of the Plaintiffs, the Asbestos PI Trust and
the Asbestos PD Trust, as the case may be, shall_(1) provide to Sealed Air
Corporation, as promptly as practicable, a written notice identifying such Defined
Action (as defined in the Sealed Air Settlement Agreement) and describing in
detail the Paragraph VI(f) Issue and (2) consult and act (and cause its advisors
(including accountants and tax attorneys, as the case may be) to, consult and act)
in good faith to determine and resolve (i) if such issue relates to a Tax issue,
whether, as a result of a Change in Circumstances (as defined in the Sealed Air
Settlement Agreement), there is no "reasonable basis", as defined in IRC section
6662 (or successor provision thereof), for the taking of, or the failure to take, such
Defined Action (as defined in the Sealed Air Settlement Agreement) by such
Entity or (ii) if such issue relates to an accounting issue, whether, as a result of a
Change in Circumstances, the taking, or the failure to take, such Defined Action
(as defined in the Sealed Air Settlement Agreement) is inconsistent with generally
accepted accounting principles, and

perform all other actions required, and refrain from taking any other activities
precluded, by the Sealed Air Settlement Agreement.
